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                            Declaration of
                        Elizabeth McNamara
                               Exhibit 32
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               DR. MAHENDRA AMIN,
               DR. MAHENDRA AMIN, M.D. vs NBCUNIVERSAL
                                  M.D. vs                MEDIA, LLC.
                                           NBCUNIVERSAL MEDIA,  LLC.
Confidential
Confidential                Jacob Soboroff on
                            Jacob Soboroff    05/18/2023
                                           on 05/18/2023                          ·

 ·1·
  1  · · · · ·UNITED
              UNITED STATES
                     STATES DISTRICT
                             DISTRICT COURT
                                       COURT
 · · · · ·FOR
          FOR THE
              THE SOUTHERN
                  SOUTHERN DISTRICT
                            DISTRICT OF
                                     OF GEORGIA
                                         GEORGIA
 ·2·
  2  · · · · · · · ·WAYCROSS
                    WAYCROSS DIVISION
                              DIVISION

 ·3·
  3  ·DR. MAHENDRA AMIN,
      DR. MAHENDRA AMIN, M.D.
                         M.D.

 ·4·
  4  · · · · · · · ·Plaintiff,·
                    Plaintiff,  ·CASE
                                 CASE NO.
                                      NO.
 · · · · ·v.·
          v.  · · · · · · · · · ·5:21-CV-00056-LGW-
                                 5:21-CV-00056-LGW-
 ·5·
  5  · · · · · · · · · · · · · · BWC
                                 BWC
 · · ·NBCUNIVERSAL MEDIA, LLC,
      NBCUNIVERSAL MEDIA, LLC,
 ·6
  6
 · · · · · · · · · ·Defendant.
                    Defendant.
 ·7
  7

 ·8
  8
 · · · · · · ***
             *** CONFIDENTIAL
                 CONFIDENTIAL TRANSCRIPT  ***
                               TRANSCRIPT ***
 ·9
  9
 · · · · · · ·VIDEO-RECORDED
              VIDEO-RECORDED DEPOSITION
                              DEPOSITION OF
                                         OF
 10·
 10  · · · · · · · · JACOB
                     JACOB SOBOROFF
                           SOBOROFF

 11·
 11  · · · · · Davis  Wright Tremaine,
               Davis Wright  Tremaine, LLP
                                        LLP
 · · · · · · · 1251  Avenue of
               1251 Avenue      the Americas
                            of the  Americas
 12·
 12  · · · · · · · · · 21st
                        21st Floor
                             Floor
 · · · · · · · ·New
                New York,
                     York, New
                           New York
                                York 10020
                                     10020
 13
 13
 · · · · · · · · · · · 05/18/2023
                        05/18/2023
 14·
 14  · · · · · · · ·10:35
                     10:35 a.m.
                           a.m. (EDT)
                                 (EDT)

 15
 15

 16
 16

 17
 17

 18
 18

 19
 19

 20
 20

 21
 21

 22
 22

 23
 23

 24
 24
 · · · REPORTED
       REPORTED BY:
                 BY:· MONIQUE
                      MONIQUE CABRERA
                              CABRERA
 25·
 25  · JOB
       JOB NO.
           NO. 14603
                14603



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                                                                                  7

 ·1·
  1 · · ·in-house
         in-house at
                  at NBCUniversal
                     NBCUniversal on
                                  on behalf
                                     behalf of
                                            of

 ·2·
  2 · · ·the
         the defendant
             defendant and the witness.
                       and the witness.

 ·3·
  3 · · · · · ·MS.
               MS. CARTER:·
                   CARTER: Taylor
                            Taylor Carter
                                   Carter

 ·4·
  4 · · ·in-house law clerk
         in-house law clerk at
                            at NBCUniversal
                               NBCUniversal on
                                            on

 ·5·
  5 · · ·behalf
         behalf of the defendant
                of the defendant and
                                 and the
                                     the

 ·6·
  6 · · ·witness.
         witness.

 ·7·
  7 ·JASON
     JASON SOBOROFF,
           SOBOROFF, called
                     called as
                            as a
                               a witness,
                                 witness,

 ·8·
  8 ·having
     having been first duly
            been first duly sworn
                            sworn by
                                  by a
                                     a Notary
                                       Notary

 ·9·
  9 ·Public
     Public of the State
            of the State of
                         of New
                            New York,
                                York, was
                                      was

 10·
 10 ·examined
     examined and testified as
              and testified as follows:
                               follows:

 11·
 11 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Yes.
                             Yes.

 12·
 12 · · · · · ·COURT
               COURT REPORTER:·
                     REPORTER: Can
                                Can you
                                    you state
                                        state

 13·
 13 · · ·your
         your name
              name and
                   and address for the
                       address for the record.
                                       record.

 14·
 14 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Jacob
                             Jacob Soboroff,
                                   Soboroff,

 15·
 15 · · ·30
         30 Rockefeller
            Rockefeller Plaza,
                        Plaza, New
                               New York,
                                   York, New
                                         New

 16·
 16 · · ·York.
         York.

 17·
 17 · · · · · ·COURT
               COURT REPORTER:·
                     REPORTER: Great.·
                                Great. Thank
                                       Thank

 18·
 18 · · ·you.
         you.

 19·
 19 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Thank
                             Thank you.
                                   you.

 20·
 20 ·EXAMINATION
     EXAMINATION

 21·
 21 ·BY MS. EVANS:
     BY MS. EVANS:
 22·
 22     · · ·Q.·
             Q. · Good
                  Good morning,
                       morning, Mr.
                                Mr. Soboroff.
                                    Soboroff.
 23·
 23 · · ·A.·
         A. · Good
              Good morning.
                   morning.

 24·
 24     · · ·Q.·
             Q. · I
                  I am
                    am Stacey
                       Stacey Evans.
                              Evans.· We
                                      We met
                                         met
 25·
 25     ·earlier.· I'll be
         earlier. I'll  be asking
                           asking you questions
                                  you questions


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 ·1·
  1 ·today on behalf
     today on behalf of
                     of the
                        the plaintiff.
                            plaintiff.
 ·2·
  2 · · · · · ·MS. EVANS:· The
               MS. EVANS:  The first thing I
                               first thing I am
                                             am

 ·3·
  3 · · ·going
         going to
               to do is mark
                  do is mark the
                             the deposition
                                 deposition

 ·4·
  4 · · ·notice that brings
         notice that brings us
                            us here today as
                               here today as

 ·5·
  5 · · ·Plaintiff's Exhibit 55.
         Plaintiff's Exhibit 55.· Nothing
                                  Nothing for
                                          for

 ·6·
  6 · · ·you
         you to
             to do
                do with it.· It's
                   with it.  It's really more
                                  really more

 ·7·
  7 · · ·of
         of a
            a housekeeping matter.
              housekeeping matter.

 ·8·
  8 · · · · · ·(Whereupon, Exhibit 55,
               (Whereupon, Exhibit 55, Notice
                                       Notice

 ·9·
  9 · · ·of
         of Deposition,
            Deposition, was marked for
                        was marked for

 10·
 10 · · ·identification.)
         identification.)

 11·
 11 ·BY MS. EVANS:
     BY MS. EVANS:
 12· · · ·Q.·
 12       Q. · Mr.
               Mr. Soboroff,
                   Soboroff, when did you
                             when did     first
                                      you first

 13· ·learn
 13         that you
      learn that you would be deposed
                     would be deposed in
                                      in this
                                         this
 14· ·case?
 14   case?

 15·
 15 · · ·A.·
         A. · I don't recall
              I don't        the exact
                      recall the exact date,
                                       date,

 16·
 16 ·but
     but I
         I believe it was
           believe it was several
                          several years
                                  years ago
                                        ago at
                                            at

 17·
 17 ·this
     this point.
          point.

 18· · · ·Q.·
 18       Q. · At
               At some
                  some point,
                       point, were
                              were you asked to
                                   you asked to
 19· ·gather
 19          documents related
      gather documents related to this case?
                               to this case?
 20·
 20 · · ·A.·
         A. · Yes,
              Yes, I
                   I was.
                     was.

 21· · · ·Q.·
 21       Q. · When
               When was that?
                    was that?

 22·
 22 · · ·A.·
         A. · I don't recall.
              I don't recall.

 23· · · ·Q.·
 23       Q. · Did
               Did you take efforts
                   you take efforts to
                                    to search
                                       search
 24· ·through
 24   through your e-mails?
              your e-mails?

 25·
 25 · · ·A.·
         A. · Yes,
              Yes, I
                   I did.
                     did.


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 ·1·
  1 · · ·Q.·
         Q. · Did
              Did you take efforts
                  you take efforts to
                                   to search
                                      search
 ·2·
  2 ·through
     through your text messages?
             your text messages?
 ·3·
  3 · · ·A.·
         A. · Yes,
              Yes, I
                   I did.
                     did.

 ·4·
  4 · · ·Q.·
         Q. · Did
              Did you find text
                  you find text messages?
                                messages?
 ·5·
  5 · · ·A.·
         A. · No,
              No, I
                  I did
                    did not.
                        not.

 ·6·
  6 · · ·Q.·
         Q. · Did
              Did you find e-mails?
                  you find e-mails?
 ·7·
  7 · · ·A.·
         A. · Did
              Did not.
                  not.

 ·8·
  8 · · ·Q.·
         Q. · Did
              Did someone
                  someone undertake
                          undertake to
                                    to find
                                       find
 ·9·
  9 ·documents on your
     documents on      behalf that
                  your behalf that you're aware
                                   you're aware

 10· ·of?
 10   of?

 11·
 11 · · ·A.·
         A. · Did
              Did someone
                  someone undertake
                          undertake an
                                    an effort
                                       effort

 12·
 12 ·to find documents
     to find documents on my behalf
                       on my behalf on my
                                    on my

 13·
 13 ·devices?
     devices?

 14· · · ·Q.·
 14       Q. · Or
               Or --
                  -- or
                     or related
                        related to
                                to your phone
                                   your phone

 15· ·numbers
 15           or e-mail
      numbers or e-mail addresses,
                        addresses, if
                                   if you know.
                                      you know.

 16·
 16 · · ·A.·
         A. · I don't know.
              I don't know.

 17· · · ·Q.·
 17       Q. · Do
               Do you have --
                  you have -- strike
                              strike that.
                                     that.
 18· · · · · · ·Who
 18                 is considered
                Who is considered your employer?
                                  your employer?

 19·
 19 · · ·A.·
         A. · NBCUniversal.
              NBCUniversal.

 20· · · ·Q.·
 20       Q. · Do
               Do you have a
                  you have a phone
                             phone that
                                   that
 21· ·NBCUniversal
 21                pays for?
      NBCUniversal pays for?
 22·
 22 · · ·A.·
         A. · I do.
              I do.

 23· · · ·Q.·
 23       Q. · Do
               Do you know the
                  you know the provider
                               provider for
                                        for
 24· ·that
 24        phone?· Verizon?
      that phone?  Verizon?· AT&T?
                             AT&T?
 25·
 25 · · ·A.·
         A. · I
              I believe it's AT&T.
                believe it's AT&T.

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 ·1·
  1 · · · · · ·MS. EVANS:· Sorry.·
               MS. EVANS:  Sorry. II am letting
                                     am letting

 ·2·
  2 · · ·my
         my assistant
            assistant know the videographer
                      know the videographer

 ·3·
  3 · · ·situation.
         situation.

 ·4·
  4 ·BY MS. EVANS:
     BY MS. EVANS:
 ·5·
  5 · · ·Q.·
         Q. · When
              When did
                   did you first -- strike
                       you first    strike
 ·6·
  6 ·that.
     that.

 ·7·
  7 · · · · · ·Have
               Have you -- strike
                    you -- strike that.
                                  that.
 ·8·
  8 · · · · · ·Prior to any
               Prior to any information
                            information about
                                        about
 ·9·
  9 ·Irwin County Detention
     Irwin County Detention Center,
                            Center, had
                                    had you
                                        you

 10· ·worked
 10   worked with anyone at
             with anyone at Project
                            Project South
                                    South
 11· ·before?
 11   before?

 12·
 12 · · ·A.·
         A. · Define "worked with."
              Define "worked with."

 13· · · ·Q.·
 13       Q. · Communicated
               Communicated with related to
                            with related to
 14· ·news
 14        stories.
      news stories.

 15·
 15 · · ·A.·
         A. · I don't recall.·
              I don't recall. II covered
                                 covered a
                                         a

 16·
 16 ·wide
     wide variety
          variety of immigration issues.
                  of immigration issues.· It's
                                          It's
 17·
 17 ·possible,
     possible, but I don't
               but I don't recall.
                           recall.

 18· · · ·Q.·
 18       Q. · No
               No specific
                  specific recollection
                           recollection of
                                        of
 19· ·working
 19   working with them prior?
              with them prior?
 20·
 20 · · ·A.·
         A. · No.
              No.

 21· · · ·Q.·
 21       Q. · What
               What about
                    about the
                          the lawyer
                              lawyer named
                                     named John
                                           John

 22· ·Whitty?
 22   Whitty?

 23·
 23 · · ·A.·
         A. · Not
              Not to
                  to my
                     my recollection,
                        recollection, no.
                                      no.

 24· · · ·Q.·
 24       Q. · What
               What about
                    about Andrew
                          Andrew Free?
                                 Free?
 25·
 25 · · ·A.·
         A. · Yes,
              Yes, I
                   I knew Andrew Free.
                     knew Andrew Free.


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 ·1·
  1 · · ·Q.·
         Q. · How
              How did
                  did you know him?
                      you know him?
 ·2·
  2 · · ·A.·
         A. · I
              I covered the Trump
                covered the Trump

 ·3·
  3 ·administration's
     administration's policy
                      policy of
                             of separating
                                separating

 ·4·
  4 ·migrant
     migrant children
             children from their parents.·
                      from their           And
                                 parents. And

 ·5·
  5 ·Mr.
     Mr. Free, if I
         Free, if I recall
                    recall correctly,
                           correctly,

 ·6·
  6 ·represented
     represented some
                 some of those parents
                      of those parents who
                                       who were
                                           were

 ·7·
  7 ·deliberately taken from
     deliberately taken from their
                             their parents
                                   parents by
                                           by

 ·8·
  8 ·the
     the Trump
         Trump administration.
               administration.

 ·9·
  9 · · ·Q.·
         Q. · Had
              Had you
                  you worked
                      worked with Andrew Free
                             with Andrew Free
 10· ·on
 10      any other
      on any other stories
                   stories prior
                           prior to
                                 to Irwin
                                    Irwin County
                                          County
 11· ·Detention
 11             Center besides
      Detention Center besides the parent-child
                               the parent-child

 12· ·separation
 12              story?
      separation story?

 13·
 13 · · ·A.·
         A. · No,
              No, not to my
                  not to my recollection.
                            recollection.

 14· · · ·Q.·
 14       Q. · And
               And when
                   when was it that
                        was it that you
                                    you worked
                                        worked

 15· ·with
 15        Andrew Free
      with Andrew Free with regard to
                       with regard to the
                                      the
 16· ·parent-child
 16                separation?
      parent-child separation?

 17·
 17 · · ·A.·
         A. · Again,
              Again, if
                     if you
                        you could define
                            could define

 18·
 18 ·"worked
     "worked with,"
             with," please.
                    please.

 19· · · ·Q.·
 19       Q. · Communicated
               Communicated with.
                            with.

 20·
 20 · · ·A.·
         A. · I don't recall
              I don't recall because
                             because we
                                     we didn't
                                        didn't

 21·
 21 ·communicate extensively about
     communicate extensively       family
                             about family

 22·
 22 ·separation,
     separation, although
                 although we
                          we did
                             did cross
                                 cross paths
                                       paths

 23·
 23 ·about
     about the topic.
           the topic.

 24· · · ·Q.·
 24       Q. · How
               How did
                   did you come to
                       you come to know
                                   know him?
                                        him?
 25·
 25 · · ·A.·
         A. · As
              As a
                 a source.
                   source.


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 ·1·
  1 · · ·Q.·
         Q. · Did
              Did someone
                  someone tell
                          tell you about him
                               you about him
 ·2·
  2 ·and
     and you reached out
         you reached out or
                         or he
                            he reached
                               reached out
                                       out to
                                           to
 ·3·
  3 ·you?
     you?

 ·4·
  4 · · ·A.·
         A. · I don't recall
              I don't recall who initiated
                             who initiated

 ·5·
  5 ·our -- our
     our -- our conversation.
                conversation.

 ·6·
  6 · · ·Q.·
         Q. · When
              When did
                   did you first learn
                       you first learn that
                                       that
 ·7·
  7 ·Project South was
     Project South     -- strike
                   was -- strike that.
                                 that.
 ·8·
  8 · · · · · ·When did you
               When did     first learn
                        you first learn that
                                        that
 ·9·
  9 ·Project South was
     Project South     going to
                   was going    send out
                             to send out a
                                         a
 10·
 10     ·letter regarding Irwin
         letter regarding Irwin County
                                County Detention
                                       Detention
 11·
 11     ·Center?
         Center?

 12·
 12 · · ·A.·
         A. · I
              I believe --
                believe --

 13·
 13 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to

 14·
 14 · · ·form.
         form.

 15·
 15 · · · · · ·You
               You can
                   can answer.
                       answer.

 16·
 16 · · ·A.·
         A. · I
              I believe
                believe when I read
                        when I read about
                                    about the
                                          the

 17·
 17 ·whistleblower
     whistleblower complaint.·
                   complaint. Is  that what
                               Is that what

 18·
 18 ·you're
     you're referring to, the
            referring to, the whistleblower
                              whistleblower

 19·
 19 ·complaint?
     complaint?

 20·
 20 ·BY MS. EVANS:
     BY MS. EVANS:
 21·
 21     · · ·Q.·
             Q. · Yeah.
                  Yeah.· That's
                         That's what
                                what you-all call
                                     you-all call

 22·
 22     ·it.
         it.

 23·
 23 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to

 24·
 24 · · ·characterization.
         characterization.

 25·
 25 · · ·A.·
         A. · I
              I believe
                believe when I saw
                        when I     it reported
                               saw it reported


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 ·1·
  1 ·in the media
     in the       is when
            media is when I
                          I first
                            first saw it.
                                  saw it.

 ·2·
  2 ·BY MS. EVANS:
     BY MS. EVANS:
 ·3·
  3 · · ·Q.·
         Q. · You
              You didn't
                  didn't have
                         have any
                              any advance
                                  advance
 ·4·
  4 ·notice from anyone
     notice from anyone at
                        at Project
                           Project South?
                                   South?
 ·5·
  5 · · ·A.·
         A. · I don't recall
              I don't recall having
                             having any
                                    any

 ·6·
  6 ·advance
     advance notice,
             notice, no.
                     no.

 ·7·
  7 · · ·Q.·
         Q. · Do
              Do you remember when
                 you remember when you first
                                   you first

 ·8·
  8 ·saw
     saw the -- strike
         the -- strike that.
                       that.
 ·9·
  9 · · · · · ·I am going
               I am going to
                          to hand
                             hand you
                                  you what
                                      what was
                                           was

 10· ·previously
 10              marked as
      previously marked as Exhibit
                           Exhibit 2.
                                   2.
 11·
 11 · · · · · ·(Whereupon, Exhibit 2,
               (Whereupon, Exhibit 2,

 12·
 12 · · ·Whistleblower
         Whistleblower Complaint,
                       Complaint, was
                                  was

 13·
 13 · · ·identified.)
         identified.)

 14·
 14 · · ·A.·
         A. · Thank
              Thank you.
                    you.

 15·
 15 ·BY MS. EVANS:
     BY MS. EVANS:
 16· · · ·Q.·
 16       Q. · A
               A version
                 version of
                         of this
                            this document
                                 document was
                                          was

 17· ·attached
 17            to a
      attached to a filing
                    filing in
                           in this case, which
                              this case, which

 18· ·is
 18   is why it has
         why it has Exhibit
                    Exhibit A
                            A on
                              on the
                                 the front.
                                     front.
 19· · · · · · ·But
 19                 if you
                But if     could flip
                       you could flip to
                                      to the
                                         the

 20· ·second
 20          page, can
      second page, can you identify this
                       you identify this
 21· ·document,
 21             Exhibit 2?
      document, Exhibit 2?
 22·
 22 · · ·A.·
         A. · Yes.
              Yes.

 23· · · ·Q.·
 23       Q. · What
               What is
                    is it?
                       it?
 24·
 24 · · ·A.·
         A. · The
              The whistleblower
                  whistleblower complaint.
                                complaint.

 25· · · ·Q.·
 25       Q. · When
               When did
                    did you first --
                        you first -- strike
                                     strike

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 ·1·
  1 ·that.
     that.

 ·2·
  2 · · · · · ·Did
               Did you see this
                   you see this letter
                                letter for
                                       for the
                                           the
 ·3·
  3 ·first time through
     first time through a
                        a media
                          media report?
                                report?
 ·4·
  4 · · ·A.·
         A. · I don't recall.
              I don't recall.

 ·5·
  5 · · ·Q.·
         Q. · When
              When did
                   did you first read
                       you first read --
                                      -- or
                                         or
 ·6·
  6 ·strike
     strike that.
            that.

 ·7·
  7 · · · · · ·Did
               Did you read Exhibit
                   you read Exhibit 2
                                    2 at
                                      at some
                                         some
 ·8·
  8 ·point?
     point?

 ·9·
  9 · · ·A.·
         A. · Yes.
              Yes.

 10·
 10     · · ·Q.·
             Q. · When?
                  When?
 11·
 11 · · ·A.·
         A. · I don't remember
              I don't          the date.
                      remember the date.
 12·
 12     · · ·Q.·
             Q. · Was
                  Was it
                      it on
                         on September
                            September 14th
                                      14th or
                                           or
 13·
 13     ·after September 14th,
         after September 14th, to
                               to the best of
                                  the best of your
                                              your

 14·
 14     ·recollection?
         recollection?

 15·
 15 · · ·A.·
         A. · I do not
              I do not recall.
                       recall.

 16·
 16 · · · · · ·MS. MCNAMARA:· And
               MS. MCNAMARA:  And just
                                  just for
                                       for

 17·
 17 · · ·clarity,
         clarity, we
                  we are talking
                     are talking

 18·
 18 · · ·September
         September 14th,
                   14th, 2020,
                         2020, correct?
                               correct?

 19·
 19 · · · · · ·MS. EVANS:· Yes.
               MS. EVANS:  Yes.

 20·
 20 · · · · · ·I
               I am
                 am going to hand
                    going to hand you
                                  you and
                                      and your
                                          your

 21·
 21 · · ·counsel
         counsel what I am
                 what I    marking as
                        am marking as

 22·
 22 · · ·Exhibit 56.
         Exhibit 56.

 23·
 23 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Thank
                             Thank you.
                                   you.

 24·
 24 · · · · · ·(Whereupon, Exhibit 56,
               (Whereupon, Exhibit 56, E-mail
                                       E-mail
 25·
 25 · · ·Chain
         Chain Bates
               Bates Project
                     Project South
                             South Bates
                                   Bates No.
                                         No.


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                                                                                 48

 ·1·
  1 ·text on September
     text on September 14,
                       14, 2020
                           2020 at
                                at 8:06
                                   8:06 p.m.
                                        p.m.
 ·2·
  2 ·that
     that you
          you were going to
              were going to talk to the
                            talk to the Georgia
                                        Georgia
 ·3·
  3 ·lawyer and that
     lawyer and that you had just
                     you had      talked to
                             just talked to TPS
                                            TPS

 ·4·
  4 ·lawyer,
     lawyer, you
             you write at 9:15
                 write at 9:15 p.m.,
                               p.m., "Okay,
                                     "Okay,
 ·5·
  5 ·spoke
     spoke with her."
           with her."

 ·6·
  6 · · · · · ·Do
               Do you see that?
                  you see that?
 ·7·
  7 · · ·A.·
         A. · I do.
              I do.

 ·8·
  8 · · ·Q.·
         Q. · Who
              Who was that?
                  was that?

 ·9·
  9 · · ·A.·
         A. · I don't remember.
              I don't remember.

 10· · · ·Q.·
 10       Q. · Do
               Do you
                  you think it was
                      think it     the Georgia
                               was the Georgia

 11· ·lawyer?
 11   lawyer?

 12·
 12 · · ·A.·
         A. · Yes.
              Yes.

 13· · · ·Q.·
 13       Q. · You
               You said
                   said "Spoke
                        "Spoke with her," so
                               with her," so
 14· ·I'm
 14       assuming that
      I'm assuming that means
                        means that
                              that the
                                   the Georgia
                                       Georgia
 15· ·lawyer
 15   lawyer was a female?
             was a female?
 16·
 16 · · ·A.·
         A. · It
              It must
                 must have
                      have been.
                           been.

 17· · · ·Q.·
 17       Q. · Does
               Does that
                    that refresh
                         refresh your
                                 your

 18· ·recollection
 18                at all
      recollection at all as
                          as to
                             to what her name
                                what her name

 19· ·was?
 19   was?

 20·
 20 · · ·A.·
         A. · When
              When you look at
                   you look    the e-mail
                            at the e-mail
 21·
 21 ·chain
     chain you
           you provided me, it
               provided me, it looks
                               looks like
                                     like it
                                          it
 22·
 22 ·might
     might have
           have been Azadeh.
                been Azadeh.

 23· · · ·Q.·
 23       Q. · Do
               Do you
                  you think it could
                      think it could have
                                     have been
                                          been
 24· ·Ms.
 24       Matherne?
      Ms. Matherne?

 25·
 25 · · ·A.·
         A. · I don't --
              I don't -- I
                         I don't
                           don't believe
                                 believe so,
                                         so,


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 ·1·
  1 ·but
     but I
         I can't
           can't say
                 say for
                     for sure.
                         sure.

 ·2·
  2 · · ·Q.·
         Q. · And
              And Julia asks, "Anything
                  Julia asks, "Anything to
                                        to
 ·3·
  3 ·it?"
     it?"

 ·4·
  4 · · · · · ·Do
               Do you see that?
                  you see that?
 ·5·
  5 · · ·A.·
         A. · Yes.
              Yes.

 ·6·
  6 · · ·Q.·
         Q. · And
              And what did you
                  what did     say?
                           you say?

 ·7·
  7 · · ·A.·
         A. · I
              I said, "Doesn't sound
                said, "Doesn't       like they
                               sound like they
 ·8·
  8 ·have
     have much
          much beyond the complaint,
               beyond the complaint, which is
                                     which is

 ·9·
  9 ·the
     the whistleblower's
         whistleblower's account.·
                         account. Doesn't
                                   Doesn't mean
                                           mean

 10·
 10 ·it didn't happen,
     it didn't happen, but
                       but harder to prove."
                           harder to prove."

 11· · · ·Q.·
 11       Q. · And
               And then
                   then Julia texts back,
                        Julia texts back, it
                                          it
 12· ·looks
 12         like, "Yo,
      looks like, "Yo, gone
                       gone to
                            to sleep."
                               sleep."
 13· · · · · · ·Then
 13                  she texts
                Then she texts the
                               the next morning
                                   next morning

 14· ·at
 14      8:02 a.m.,
      at 8:02 a.m., "What
                    "What do
                          do you
                             you think about
                                 think about

 15· ·sending
 15           a note
      sending a note to
                     to standards?"
                        standards?"
 16· · · · · · ·Do
 16             Do you see that?
                   you see that?
 17·
 17 · · ·A.·
         A. · I do.
              I do.

 18· · · ·Q.·
 18       Q. · Did
               Did you-all -- strike
                   you-all -- strike that.
                                     that.
 19· · · · · · ·Did
 19             Did you have any
                    you have any concern
                                 concern in
                                         in your
                                            your

 20· ·mind
 20        already on
      mind already on either
                      either September
                             September 14th
                                       14th or
                                            or
 21· ·September
 21             15th that
      September 15th that standards
                          standards was going to
                                    was going to
 22· ·be
 22      need to
      be need to be
                 be involved
                    involved in
                             in this story that
                                this story that
 23· ·you-all
 23   you-all were going to
              were going to work on?
                            work on?

 24·
 24 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to

 25·
 25 · · ·form.
         form.


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 ·1·
  1 · · ·A.·
         A. · Standards -- concern
              Standards --         is not
                           concern is not how
                                          how

 ·2·
  2 ·I
     I would -- "concern"
       would -- "concern" is
                          is not
                             not the
                                 the word
                                     word I
                                          I

 ·3·
  3 ·would
     would use.·
           use. Standards  is a
                 Standards is a part
                                part of
                                     of our
                                        our

 ·4·
  4 ·news
     news organization
          organization and
                       and I
                           I would expect them
                             would expect them
 ·5·
  5 ·to
     to be involved in
        be involved in most
                       most of
                            of the
                               the stories, if
                                   stories, if

 ·6·
  6 ·not,
     not, you
          you know -- yeah,
              know -- yeah, the
                            the majority
                                majority of the
                                         of the

 ·7·
  7 ·stories that I
     stories that I work
                    work on.
                         on.

 ·8·
  8 ·BY MS. EVANS:
     BY MS. EVANS:
 ·9·
  9 · · ·Q.·
         Q. · At
              At this
                 this point,
                      point, on
                             on September
                                September 14th
                                          14th
 10· ·or
 10      September --
      or September -- strike
                      strike that.
                             that.

 11· · · · · · ·At
 11                the point
                At the point of
                             of September
                                September 14th
                                          14th
 12· ·in
 12      the evening
      in the evening and
                     and September
                         September 15th
                                   15th --
                                        --
 13· ·strike
 13   strike that.
             that.

 14· · · · · · ·On
 14                September 14th,
                On September 14th, 2020,
                                   2020, were
                                         were

 15· ·you
 15       at that
      you at that point
                  point hoping
                        hoping to
                               to work on a
                                  work on a
 16· ·story
 16         related to
      story related to the
                       the letter
                           letter reflected
                                  reflected in
                                            in
 17· ·Exhibit
 17           2?
      Exhibit 2?

 18·
 18 · · · · · ·MS. MCNAMARA:· Objection
               MS MCNAMARA:             to
                              Objection to

 19·
 19 · · ·form.
         form.

 20·
 20 · · ·A.·
         A. · I thought it
              I thought it was
                           was a
                               a newsworthy
                                 newsworthy

 21·
 21 ·and
     and potentially
         potentially consequential
                     consequential story,
                                   story, so
                                          so I
                                             I

 22·
 22 ·wanted
     wanted to learn more
            to learn more about it.· But
                          about it.      "hope"
                                     But "hope"

 23·
 23 ·is
     is not
        not the
            the word
                word I
                     I would
                       would use.
                             use.

 24·
 24 ·BY MS. EVANS:
     BY MS. EVANS:
 25· · · ·Q.·
 25       Q. · At
               At what point in
                  what point in your mind did
                                your mind did

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 ·1·
  1 ·you decide you
     you decide you wanted to work
                    wanted to      on a
                              work on a story
                                        story
 ·2·
  2 ·related to this,
     related to this, if
                      if you did?
                         you did?

 ·3·
  3 · · ·A.·
         A. · I
              I wouldn't
                wouldn't put it in
                         put it in those
                                   those
 ·4·
  4 ·terms.·
     terms. Oftentimes
             Oftentimes when
                        when we
                             we work
                                work on
                                     on stories
                                        stories

 ·5·
  5 ·as journalists, these
     as journalists, these are
                           are dynamic,
                               dynamic,

 ·6·
  6 ·evolving
     evolving situations
              situations and,
                         and, as
                              as you learn
                                 you learn

 ·7·
  7 ·more,
     more, you
           you see
               see where that takes
                   where that takes you.
                                    you.

 ·8·
  8 · · ·Q.·
         Q. · Who
              Who is
                  is Betsy
                     Betsy you refer to?
                           you refer to?

 ·9·
  9 · · ·A.·
         A. · Betsy is Betsy
              Betsy is       Korona who
                       Betsy Korona who was my
                                        was my

 10·
 10 ·direct
     direct report
            report at the time.
                   at the time.
 11· · · ·Q.·
 11       Q. · What
               What was her job
                    was her job title
                                title at
                                      at the
                                         the
 12· ·time?
 12   time?

 13·
 13 · · ·A.·
         A. · I don't recall
              I don't        exactly.· But
                      recall exactly.  But

 14·
 14 ·Betsy
     Betsy supervised television correspondents
           supervised television correspondents

 15·
 15 ·who
     who reported in the
         reported in the field.
                         field.
 16· · · ·Q.·
 16       Q. · Is
               Is she
                  she part
                      part of
                           of standards
                              standards or
                                        or was
                                           was

 17· ·she?
 17   she?

 18·
 18 · · ·A.·
         A. · No.
              No.

 19· · · ·Q.·
 19       Q. · Over
               Over on
                    on the
                       the second
                           second page,
                                  page, it's
                                        it's
 20· ·the
 20       same last
      the same last three
                    three texts
                          texts from
                                from Julia at
                                     Julia at

 21· ·the
 21       bottom of
      the bottom of page
                    page 1
                         1 of
                           of Exhibit
                              Exhibit 17,
                                      17, which
                                          which

 22· ·is
 22      a little
      is a little easier
                  easier to
                         to read.
                            read.
 23· · · · · · ·She
 23                 says, "What
                She says, "What do
                                do you
                                   you think
                                       think

 24· ·about
 24         sending a
      about sending a note to standards.
                      note to standards.· Just
                                          Just

 25· ·say
 25   say what
          what you did to
               you did to Betsy
                          Betsy and
                                and they
                                    they can
                                         can

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 ·1·
  1 ·make
     make the decision about
          the decision about whether to wave
                             whether to wave

 ·2·
  2 ·people off of
     people off of it
                   it until
                      until we have more
                            we have more
 ·3·
  3 ·reporting."
     reporting."

 ·4·
  4 · · · · · ·Do
               Do you see that?
                  you see that?
 ·5·
  5 · · ·A.·
         A. · I do.
              I do.

 ·6·
  6 · · ·Q.·
         Q. · Did
              Did you indeed reach
                  you indeed reach out
                                   out to
                                       to

 ·7·
  7 ·Betsy?
     Betsy?

 ·8·
  8 · · ·A.·
         A. · If
              If Julia
                 Julia says
                       says here that I
                            here that I had
                                        had

 ·9·
  9 ·spoken
     spoken to Betsy and
            to Betsy and relayed that to
                         relayed that to Julia,
                                         Julia,

 10·
 10 ·then
     then yes,
          yes, I mostly likely
               I mostly likely spoke
                               spoke with
                                     with

 11·
 11 ·Betsy.
     Betsy.

 12· · · ·Q.·
 12       Q. · Do
               Do you have any
                  you have any recollection
                               recollection of
                                            of
 13· ·that?
 13   that?

 14·
 14 · · ·A.·
         A. · Not
              Not directly,
                  directly, no.
                            no.

 15· · · ·Q.·
 15       Q. · Did
               Did you speak with
                   you speak      anyone,
                             with anyone,

 16· ·either
 16          by phone,
      either by phone, video
                       video conference,
                             conference, or
                                         or
 17· ·e-mail
 17          from standards
      e-mail from standards on
                            on morning
                               morning of
                                       of
 18· ·September
 18             15th, 2020?
      September 15th, 2020?
 19·
 19 · · ·A.·
         A. · I don't recall.
              I don't recall.

 20· · · ·Q.·
 20       Q. · The last text
               The last text message
                             message from
                                     from you
                                          you

 21· ·under
 21         September 15th,
      under September 15th, 2020
                            2020 at
                                 at 9:15
                                    9:15 a.m.
                                         a.m.
 22· ·says,
 22         "Everyone is
      says, "Everyone is all
                         all over
                             over this
                                  this story."
                                       story."
 23· · · · · · ·Do
 23             Do you see that?
                   you see that?
 24·
 24 · · ·A.·
         A. · I do.
              I do.

 25· · · ·Q.·
 25       Q. · What
               What were
                    were you referring to
                         you referring to


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 ·1·
  1 ·there?
     there?

 ·2·
  2 · · ·A.·
         A. · The
              The whistleblower
                  whistleblower complaint.
                                complaint.

 ·3·
  3 · · ·Q.·
         Q. · And
              And who is "everyone"?
                  who is "everyone"?
 ·4·
  4 · · ·A.·
         A. · Other
              Other outlets.·
                    outlets. II probably
                                probably would
                                         would

 ·5·
  5 ·have
     have performed
          performed a
                    a Google
                      Google search in Google
                             search in Google

 ·6·
  6 ·News, if you
     News, if you know
                  know what
                       what that is, and
                            that is, and seen
                                         seen

 ·7·
  7 ·that
     that there
          there were
                were other
                     other news
                           news outlets
                                outlets who
                                        who

 ·8·
  8 ·were
     were reporting
          reporting on the complaint.
                    on the complaint.

 ·9·
  9 · · ·Q.·
         Q. · Who
              Who is
                  is Micah
                     Micah Grimes?
                           Grimes?
 10·
 10 · · ·A.·
         A. · Micah
              Micah Grimes
                    Grimes no longer works
                           no longer works at
                                           at

 11·
 11 ·NBC,
     NBC, but
          but he
              he was effectively the
                 was effectively the head
                                     head of
                                          of

 12·
 12 ·our
     our social media operation.
         social media operation.

 13· · · ·Q.·
 13       Q. · "Just
               "Just wrote a simple
                     wrote a simple note
                                    note back
                                         back
 14· ·to
 14      Micah Grimes."
      to Micah Grimes."
 15· · · · · · ·Do
 15             Do you see that?
                   you see that?
 16·
 16 · · ·A.·
         A. · I do.
              I do.

 17· · · ·Q.·
 17       Q. · What
               What is
                    is "simple
                       "simple note"?
                               note"?

 18·
 18 · · ·A.·
         A. · The
              The note that you
                  note that you provided
                                provided me in
                                         me in

 19·
 19 ·Exhibits 57 and
     Exhibits 57     58.· It's
                 and 58.       in both
                          It's in both of them.
                                       of them.

 20· · · ·Q.·
 20       Q. · So
               So "simple
                  "simple note"
                          note" just
                                just refers
                                     refers to
                                            to
 21· ·a
 21     quick note.·
      a quick        It's not
              note. It's      a specific
                          not a specific thing?
                                         thing?
 22·
 22 · · ·A.·
         A. · No.·
              No. Just  exactly what
                   Just exactly what you
                                     you see
                                         see

 23·
 23 ·in the --
     in the -- in
               in the
                  the exhibits.
                      exhibits.
 24· · · ·Q.·
 24       Q. · The
               The third page of
                   third page of Exhibit
                                 Exhibit 17,
                                         17,
 25· ·there's
 25           a reference
      there's a reference in
                          in the middle of
                             the middle of that
                                           that

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 ·1·
  1 ·text string that
     text string that says,
                      says, "I
                            "I e-mailed
                               e-mailed Scott."
                                        Scott."
 ·2·
  2 · · · · · ·Do
               Do you see that?
                  you see that?
 ·3·
  3 · · ·A.·
         A. · Yes.
              Yes.

 ·4·
  4 · · ·Q.·
         Q. · Who
              Who is
                  is Scott?
                     Scott?
 ·5·
  5 · · ·A.·
         A. · I don't recall.
              I don't recall.

 ·6·
  6 · · ·Q.·
         Q. · Do
              Do you
                 you think it was
                     think it     someone
                              was someone

 ·7·
  7 ·inside NBC?
     inside NBC?

 ·8·
  8 · · ·A.·
         A. · No.
              No.

 ·9·
  9 · · ·Q.·
         Q. · Do
              Do you
                 you think it was
                     think it     a source?
                              was a source?
 10·
 10 · · ·A.·
         A. · I do think
              I do       it was
                   think it was a
                                a source.
                                  source.

 11· · · ·Q.·
 11       Q. · Any
               Any idea
                   idea of
                        of Scott's
                           Scott's last
                                   last name,
                                        name,

 12· ·or
 12      is this
      or is this a
                 a last
                   last name?
                        name?

 13·
 13 · · ·A.·
         A. · It's
              It's possible it was
                   possible it was Scott
                                   Scott

 14·
 14 ·Shuchart.
     Shuchart.

 15· · · ·Q.·
 15       Q. · How
               How do
                   do you spell that?
                      you spell that?
 16·
 16 · · ·A.·
         A. · I don't know
              I don't know off the top
                           off the top of
                                       of my
                                          my

 17·
 17 ·head.·
     head. S-C-H-U-C-A-R-T
            S-C-H-U-C-A-R-T [sic].
                            [sic].

 18· · · ·Q.·
 18       Q. · Who
               Who is
                   is Scott
                      Scott Shuchart?
                            Shuchart?
 19·
 19 · · ·A.·
         A. · He
              He worked
                 worked at
                        at Civil
                           Civil Rights
                                 Rights and
                                        and

 20·
 20 ·Civil
     Civil Liberties.·
           Liberties. Not
                       Not at
                           at this time but
                              this time but

 21·
 21 ·previously
     previously and
                and was
                    was a
                        a public
                          public figure
                                 figure at that
                                        at that

 22·
 22 ·time.
     time.

 23· · · ·Q.·
 23       Q. · A
               A public
                 public figure?
                        figure?
 24·
 24 · · ·A.·
         A. · Meaning
              Meaning he
                      he wasn't
                         wasn't a
                                a government
                                  government

 25·
 25 ·official.
     official.


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 ·1·
  1 · · ·Q.·
         Q. · What
              What do
                   do you mean by
                      you mean by "public
                                  "public
 ·2·
  2 ·figure"?
     figure"?

 ·3·
  3 · · ·A.·
         A. · I just mean
              I just mean he
                          he wasn't
                             wasn't a
                                    a

 ·4·
  4 ·government
     government official.·
                official. He
                           He had
                              had spoken
                                  spoken out in
                                         out in

 ·5·
  5 ·the
     the media
         media before
               before about immigration-related
                      about immigration-related

 ·6·
  6 ·issues.
     issues.

 ·7·
  7 · · ·Q.·
         Q. · What
              What is
                   is NewsConnect
                      NewsConnect --
                                  --
 ·8·
  8 · · · · · ·(Reporter
               (Reporter clarification.)
                         clarification.)

 ·9·
  9 ·BY MS. EVANS:
     BY MS. EVANS:
 10·
 10     · · ·Q.·
             Q. · NewsConnect?
                  NewsConnect?
 11·
 11 · · ·A.·
         A. · It's
              It's an internal content
                   an internal content

 12·
 12 ·management
     management system,
                system, I think is
                        I think is how
                                   how you
                                       you

 13·
 13 ·would
     would describe it at
           describe it at NBC
                          NBC News.
                              News.

 14·
 14     · · ·Q.·
             Q. · Do
                  Do you use NewsConnect?
                     you use NewsConnect?
 15·
 15 · · ·A.·
         A. · I try not
              I try     to.
                    not to.

 16·
 16 · · · · · ·MS. MCNAMARA:· There's
               MS. MCNAMARA:  There's a theme
                                      a theme

 17·
 17 · · ·here,
         here, spend
               spend a lot of
                     a lot    money on
                           of money on

 18·
 18 · · ·NewsConnect
         NewsConnect and everyone hates
                     and everyone       it.
                                  hates it.

 19·
 19 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Correct
                             Correct for the
                                     for the

 20·
 20 · · ·record.
         record.

 21·
 21 ·BY MS. EVANS:
     BY MS. EVANS:
 22·
 22     · · ·Q.·
             Q. · When
                  When you use it,
                       you use it, how
                                   how --
                                       -- how
                                          how do
                                              do
 23·
 23     ·you use it?
         you use it?· And
                      And I
                          I can
                            can ask
                                ask it
                                    it a
                                       a better
                                         better
 24·
 24     ·way.
         way.

 25·
 25     · · · · · ·I have heard
                   I have heard that
                                that you get
                                     you get


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 ·1·
  1  ·e-mails from NewsConnect
      e-mails from NewsConnect or
                               or you can go
                                  you can go log
                                             log
 ·2·
  2 ·on to NewsConnect.
     on to NewsConnect.
 ·3·
  3 · · · · · ·Do
               Do you do one
                  you do one or
                             or the
                                the other
                                    other or
                                          or
 ·4·
  4 ·both
     both when
          when you use NewsConnect?
               you use NewsConnect?
 ·5·
  5 · · ·A.·
         A. · Honestly,
              Honestly, without
                        without sarcasm,
                                sarcasm, I try
                                         I try

 ·6·
  6 ·to
     to avoid
        avoid using
              using NewsConnect
                    NewsConnect because
                                because I
                                        I find
                                          find

 ·7·
  7 ·it
     it onerous.·
        onerous. But
                  But I
                      I have logged into
                        have logged into it
                                         it on
                                            on

 ·8·
  8 ·the
     the back-end
         back-end of
                  of a
                     a desktop
                       desktop computer.
                               computer.                     I
                                                             I

 ·9·
  9 ·have looked at
     have looked    it on
                 at it on a
                          a phone.· And I
                            phone. And  I have
                                          have

 10·
 10 ·received
     received e-mails
              e-mails from lists I've
                      from lists I've

 11·
 11 ·subscribed to on
     subscribed to on NewsConnect.
                      NewsConnect.

 12· · · ·Q.·
 12       Q. · On
               On the
                  the third
                      third page
                            page of
                                 of Exhibit
                                    Exhibit 17
                                            17
 13· ·with
 13        Bates number
      with Bates number 3149,
                        3149, it
                              it looks
                                 looks like
                                       like
 14· ·you're
 14          telling Julia
      you're telling       that you
                     Julia that     put the
                                you put the ICE
                                            ICE
 15· ·statement
 15             that was
      statement that     reported by
                     was reported by Telemundo
                                     Telemundo

 16· ·into
 16        NewsConnect on
      into NewsConnect on September
                          September 15th,
                                    15th, 2020.
                                          2020.
 17·
 17 · · ·A.·
         A. · That's
              That's correct.·
                     correct. That's
                               That's what I'm
                                      what I'm

 18·
 18 ·saying
     saying there.
            there.

 19· · · ·Q.·
 19       Q. · And
               And you
                   you would have logged
                       would have logged on
                                         on and
                                            and
 20· ·sort
 20        of posted
      sort of posted it?
                     it?
 21·
 21 · · ·A.·
         A. · Like
              Like copied
                   copied and
                          and pasted it.
                              pasted it.

 22· · · ·Q.·
 22       Q. · Yeah.
               Yeah.· The only time
                      The only time stamp
                                    stamp on
                                          on
 23· ·the
 23       text string
      the text string on
                      on the
                         the third page of
                             third page of
 24· ·Exhibit
 24           17, Bates
      Exhibit 17, Bates number 3149 in
                        number 3149 in the
                                       the
 25· ·middle
 25          of the
      middle of the page,
                    page, September
                          September 15th,
                                    15th, 2020
                                          2020

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 ·1·
  1 · · ·Q.·
         Q   · Did
               Did --
                   -- strike
                      strike that.
                             that.
 ·2·
  2 · · · · · ·Did Mr. --
               Did Mr. -- strike
                          strike that.
                                 that.
 ·3·
  3 · · · · · ·You recall that
               You recall that you did speak
                               you did speak
 ·4·
  4 ·with Mr. Free
     with Mr. Free at
                   at some
                      some point
                           point on
                                 on
 ·5·
  5 ·September 15th, 2020,
     September 15th, 2020, right?
                           right?
 ·6·
  6 · · ·A.·
         A. · I
              I believe
                believe I did.
                        I did.

 ·7·
  7 · · ·Q.·
         Q. · Did
              Did he
                  he say
                     say that
                         that he
                              he did
                                 did not
                                     not want
                                         want

 ·8·
  8 ·to be quoted?
     to be quoted?
 ·9·
  9 · · ·A.·
         A. · I don't remember
              I don't remember one
                               one way
                                   way or
                                       or

 10·
 10 ·another.
     another.

 11· · · ·Q.·
 11       Q. · Did
               Did you ask him
                   you ask him if
                               if he
                                  he would
                                     would

 12· ·provide
 12           a quote?
      provide a quote?
 13·
 13 · · ·A.·
         A. · I don't remember
              I don't remember one
                               one way
                                   way or
                                       or

 14·
 14 ·another.
     another.

 15· · · ·Q.·
 15       Q. · Would
               Would that
                     that be
                          be normal
                             normal that
                                    that you
                                         you

 16· ·would
 16         prefer to
      would prefer to have
                      have sources
                           sources on
                                   on the
                                      the record
                                          record
 17· ·as
 17      opposed to
      as opposed to background?
                    background?
 18·
 18 · · ·A.·
         A. · It
              It depends
                 depends on the circumstances.
                         on the circumstances.

 19· · · ·Q.·
 19       Q. · Do
               Do you recall conversations
                  you recall conversations with
                                           with

 20· ·other
 20         lawyers on
      other lawyers on September
                       September 15th,
                                 15th, 2020
                                       2020 and
                                            and
 21· ·any
 21       of lawyers
      any of lawyers telling
                     telling you they did
                             you they did not
                                          not

 22· ·want
 22   want to be quoted?
           to be quoted?
 23·
 23 · · ·A.·
         A. · I don't remember.
              I don't remember.

 24· · · ·Q.·
 24       Q. · Do
               Do you recall asking
                  you recall asking any
                                    any other
                                        other
 25· ·lawyers
 25           on September
      lawyers on September 15th,
                           15th, 2020
                                 2020 whether
                                      whether


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 ·1·
  1 ·they
     they would provide a
          would provide a quote?
                          quote?
 ·2·
  2 · · ·A.·
         A. · I don't remember.
              I don't remember.

 ·3·
  3 · · ·Q.·
         Q. · But
              But as
                  as reflected
                     reflected in
                               in Exhibit
                                  Exhibit 17
                                          17
 ·4·
  4 ·on the page
     on the page Bates
                 Bates number 3150, you
                       number 3150,     think
                                    you think

 ·5·
  5 ·that something usable
     that something usable may
                           may have
                               have been
                                    been a
                                         a
 ·6·
  6 ·quote from at
     quote from at least
                   least one
                         one of
                             of the
                                the lawyers?
                                    lawyers?
 ·7·
  7 · · ·A.·
         A. · That's
              That's correct,
                     correct, yes.
                              yes.

 ·8·
  8 · · ·Q.·
         Q. · Top of next
              Top of      page, Bates
                     next page, Bates numbered
                                      numbered

 ·9·
  9 ·3151,
     3151, you say, "The
           you say, "The name of the
                         name of the doctor
                                     doctor
 10· ·will
 10        be reported
      will be reported shortly
                       shortly by
                               by Intercept,
                                  Intercept, I'm
                                             I'm
 11· ·told."
 11   told."

 12·
 12 · · ·A.·
         A. · Yes.
              Yes.

 13· · · ·Q.·
 13       Q. · How
               How did
                   did you come to
                       you come to find
                                   find that
                                        that
 14· ·out?
 14   out?

 15·
 15 · · ·A.·
         A. · I don't remember
              I don't remember who told me
                               who told me

 16·
 16 ·that
     that but through source-based
          but through source-based

 17·
 17 ·conversations.
     conversations.

 18· · · ·Q.·
 18       Q. · Do
               Do you
                  you think it was
                      think it     Andrew Free?
                               was Andrew Free?
 19·
 19 · · ·A.·
         A. · It's
              It's possible.
                   possible.

 20· · · ·Q.·
 20       Q. · At
               At the
                  the bottom
                      bottom of
                             of the
                                the page
                                    page Bates
                                         Bates
 21· ·number
 21          3151, do
      number 3151, do you see the
                      you see     text message
                              the text message
 22· ·where
 22   where you're asking, "First
            you're asking, "First name?"
                                  name?"

 23·
 23 · · ·A.·
         A. · Yes.
              Yes.

 24· · · ·Q.·
 24       Q. · And
               And then right under
                   then right under that
                                    that says,
                                         says,
 25· ·"Andrew
 25           Free is
      "Andrew Free is urging
                      urging us
                             us to
                                to make
                                   make the
                                        the

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 ·1·
  1 ·framing about a
     framing about a crooked
                     crooked doctor,
                             doctor, yes, but
                                     yes, but

 ·2·
  2 ·also a system
     also a system with little oversight."
                   with little oversight."
 ·3·
  3 · · ·A.·
         A. · Yes.
              Yes.

 ·4·
  4 · · ·Q.·
         Q. · "What
              "What the
                    the whistleblower is
                        whistleblower is

 ·5·
  5 ·saying."
     saying."

 ·6·
  6 · · ·A.·
         A. · Yes.
              Yes.

 ·7·
  7 · · ·Q.·
         Q. · Does
              Does that
                   that refresh
                        refresh your
                                your

 ·8·
  8 ·recollection about your
     recollection about      conversation with
                        your conversation with

 ·9·
  9 ·Andrew Free?
     Andrew Free?

 10·
 10 · · ·A.·
         A. · I don't recall
              I don't recall one
                             one specific
                                 specific

 11·
 11 ·conversation.·
     conversation. But,
                    But, yes it --
                         yes it -- this
                                   this is
                                        is a
                                           a

 12·
 12 ·text
     text about
          about having
                having spoken
                       spoken with Andrew Free
                              with Andrew Free

 13·
 13 ·and
     and his -- what
         his -- what he
                     he would
                        would have
                              have said.
                                   said.

 14· · · ·Q.·
 14       Q. · Did
               Did he
                   he share
                      share the
                            the name
                                name

 15· ·Dr.
 15       Mahendra Amin
      Dr. Mahendra Amin to
                        to you?
                           you?

 16·
 16 · · ·A.·
         A. · I don't believe
              I don't believe so.
                              so.

 17· · · ·Q.·
 17       Q. · He
               He urged
                  urged you to make
                        you to make a
                                    a story
                                      story
 18· ·about
 18         a crooked
      about a crooked doctor
                      doctor in
                             in addition
                                addition to
                                         to
 19· ·other
 19         things, right?
      other things, right?
 20·
 20 · · · · · ·MS. MCNAMARA:· Objection.
               MS. MCNAMARA:  Objection.

 21·
 21 · · ·Mischaracterization.
         Mischaracterization.

 22·
 22 · · ·A.·
         A. · If
              If I
                 I could
                   could zoom
                         zoom out
                              out a little
                                  a little

 23·
 23 ·bit.
     bit.

 24·
 24 · · · · · ·When
               When you
                    you speak to other
                        speak to other

 25·
 25 ·journalists,
     journalists, when
                  when you
                       you speak
                           speak to
                                 to sources
                                    sources


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 ·1·
  1 ·about
     about a
           a story,
             story, or
                    or when
                       when you
                            you speak to anyone
                                speak to anyone

 ·2·
  2 ·who's
     who's a
           a human
             human being, everybody has
                   being, everybody has a
                                        a

 ·3·
  3 ·particular
     particular vantage
                vantage point
                        point through
                              through which
                                      which

 ·4·
  4 ·they look at
     they look at a
                  a set
                    set of facts or
                        of facts    events.
                                 or events.

 ·5·
  5 ·And
     And what
         what I
              I was telling Julia
                was telling Julia here
                                  here was this
                                       was this

 ·6·
  6 ·was
     was my interpretation of
         my interpretation of what Mr. Free's
                              what Mr. Free's

 ·7·
  7 ·vantage
     vantage point
             point was
                   was about
                       about this, the facts
                             this, the facts
 ·8·
  8 ·that
     that we
          we had
             had known
                 known at the time
                       at the time when
                                   when I
                                        I sent
                                          sent

 ·9·
  9 ·this
     this text,
          text, yes.
                yes.

 10·
 10 ·BY MS. EVANS:
     BY MS. EVANS:
 11· · · ·Q.·
 11       Q. · Your
               Your interpretation
                    interpretation from
                                   from your
                                        your

 12· ·conversation
 12   conversation with Andrew Free
                   with Andrew Free on
                                    on
 13· ·September
 13             15th, 2020
      September 15th, 2020 was that he
                           was that he wanted
                                       wanted

 14· ·you
 14   you to frame a
          to frame a story
                     story about
                           about a
                                 a crooked
                                   crooked
 15· ·doctor
 15          at least
      doctor at least in
                      in part,
                         part, true?
                               true?

 16·
 16 · · ·A.·
         A. · That's
              That's what it says,
                     what it says, yes.
                                   yes.

 17· · · ·Q.·
 17       Q. · And
               And that's
                   that's what
                          what you recall?
                               you recall?

 18·
 18 · · ·A.·
         A. · Yes.
              Yes.

 19· · · ·Q.·
 19       Q. · But
               But you don't recall
                   you don't recall if
                                    if he
                                       he gave
                                          gave
 20· ·you
 20       a name
      you a      of the
            name of the doctor?
                        doctor?
 21·
 21 · · ·A.·
         A. · I don't believe
              I don't believe he did, but
                              he did, but I
                                          I

 22·
 22 ·don't
     don't recall.· Again, this
           recall. Again,  this was
                                was awhile
                                    awhile ago
                                           ago

 23·
 23 ·and
     and we
         we spoke
            spoke collectively,
                  collectively, Julia
                                Julia and
                                      and

 24·
 24 ·myself, to quite
     myself, to quite a
                      a few
                        few people
                            people about -- as
                                   about -- as

 25·
 25 ·we
     we reported this story.
        reported this story.


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 ·1·
  1 · · ·Q.·
         Q   · Sure.
               Sure.
 ·2·
  2 · · · · · ·You have been
               You have been a
                             a journalist
                               journalist for
                                          for
 ·3·
  3 ·how many years?
     how many years?

 ·4·
  4 · · ·A.·
         A. · I've
              I've worked
                   worked at
                          at NBC
                             NBC since
                                 since the
                                       the

 ·5·
  5 ·summer
     summer of
            of 2015.
               2015.

 ·6·
  6 · · ·Q.·
         Q. · So
              So 8
                 8 years?
                   years?

 ·7·
  7 · · ·A.·
         A. · Just
              Just about.
                   about.

 ·8·
  8 · · ·Q.·
         Q. · Did
              Did you
                  you work in journalism
                      work in journalism prior
                                         prior
 ·9·
  9 ·to
     to working in NBC?
        working in NBC?
 10·
 10 · · ·A.·
         A. · Not in a
              Not in a big
                       big national
                           national news
                                    news

 11·
 11 ·organization like this,
     organization like this, no.
                             no.

 12· · · ·Q.·
 12       Q. · Did
               Did you
                   you work in journalism
                       work in journalism some
                                          some
 13· ·other
 13   other way?
            way?

 14·
 14 · · ·A.·
         A. · I
              I would
                would say
                      say non-traditional
                          non-traditional jobs
                                          jobs

 15·
 15 ·in media.
     in media.

 16· · · ·Q.·
 16       Q. · Which
               Which were
                     were what?
                          what?

 17·
 17 · · ·A.·
         A. · I
              I worked
                worked on
                       on a
                          a broadcast
                            broadcast for
                                      for

 18·
 18 ·YouTube
     YouTube for
             for a
                 a company
                   company called
                           called Participant
                                  Participant

 19·
 19 ·Media,
     Media, which
            which had
                  had a
                      a cable
                        cable network.
                              network.                     I
                                                           I

 20·
 20 ·worked
     worked for the Huffington
            for the Huffington Post
                               Post on
                                    on a
                                       a

 21·
 21 ·streaming
     streaming news
               news network.·
                    network. II worked
                                worked for the
                                       for the

 22·
 22 ·AMC Movie Channel
     AMC Movie Channel doing
                       doing red
                             red carpet
                                 carpet

 23·
 23 ·interviews.·
     interviews. I  did a
                  I did a reality
                          reality show for NBC
                                  show for NBC

 24·
 24 ·called
     called School
            School Pride,
                   Pride, which
                          which was like
                                was like

 25·
 25 ·extreme
     extreme makeovers
             makeovers for
                       for school.
                           school.


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 ·1·
  1 · · · · · ·I
               I had
                 had a lot of
                     a lot    interesting jobs
                           of interesting jobs

 ·2·
  2 ·in media before
     in media before coming
                     coming to
                            to NBC
                               NBC News
                                   News and
                                        and

 ·3·
  3 ·dedicating myself to
     dedicating myself to journalism.
                          journalism.
 ·4·
  4 · · ·Q.·
         Q. · Where
              Where did
                    did you go to
                        you go to college?
                                  college?
 ·5·
  5 · · ·A.·
         A. · New
              New York
                  York University.
                       University.

 ·6·
  6 · · ·Q.·
         Q. · Did
              Did you pursue --
                  you pursue -- strike
                                strike that.
                                       that.

 ·7·
  7 · · · · · ·Is that where
               Is that where you got your
                             you got your

 ·8·
  8 ·undergraduate degree?
     undergraduate degree?

 ·9·
  9 · · ·A.·
         A. · It
              It is,
                 is, yes.
                     yes.

 10· · · ·Q.·
 10       Q. · Do
               Do you have a
                  you have a degree
                             degree beyond
                                    beyond your
                                           your

 11· ·undergraduate
 11                 degree?
      undergraduate degree?

 12·
 12 · · ·A.·
         A. · I do.
              I do.

 13· · · ·Q.·
 13       Q. · What
               What is
                    is that?
                       that?
 14·
 14 · · ·A.·
         A. · It's
              It's a
                   a master's
                     master's degree in
                              degree in

 15·
 15 ·political theory and
     political theory and philosophy.
                          philosophy.

 16· · · ·Q.·
 16       Q. · Where
               Where did
                     did you get that?
                         you get that?
 17·
 17 · · ·A.·
         A. · Also
              Also NYU.
                   NYU.

 18· · · ·Q.·
 18       Q. · Any
               Any other
                   other degrees?
                         degrees?
 19·
 19 · · ·A.·
         A. · No.
              No.

 20· · · ·Q.·
 20       Q. · When
               When did
                    did you obtain your
                        you obtain your

 21· ·master's
 21            degree?
      master's degree?

 22·
 22 · · ·A.·
         A. · I think the
              I think the year
                          year after
                               after I
                                     I

 23·
 23 ·graduated
     graduated undergrad,
               undergrad, so
                          so I
                             I think it was
                               think it was

 24·
 24 ·2005
     2005 undergrad,
          undergrad, 2006 master's.
                     2006 master's.

 25· · · ·Q.·
 25       Q. · Did
               Did you go to
                   you go to work in journalism
                             work in journalism

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 ·1·
  1 ·in some form
     in some form immediately
                  immediately after
                              after your
                                    your

 ·2·
  2 ·master's?
     master's?

 ·3·
  3 · · ·A.·
         A. · I
              I wouldn't
                wouldn't call it journalism.
                         call it journalism.
 ·4·
  4 · · · · · ·If
               If you
                  you really
                      really want to know
                             want to know the
                                          the

 ·5·
  5 ·story,
     story, I loved MTV
            I loved MTV News
                        News and
                             and I
                                 I always
                                   always

 ·6·
  6 ·wanted
     wanted to
            to pursue
               pursue a
                      a career in
                        career in

 ·7·
  7 ·non-traditional
     non-traditional media
                     media and
                           and journalism,
                               journalism, but
                                           but

 ·8·
  8 ·it
     it was
        was a
            a circuitous
              circuitous route
                         route to
                               to becoming
                                  becoming a
                                           a

 ·9·
  9 ·journalist
     journalist here.
                here.

 10· · · ·Q.·
 10       Q. · At
               At least
                  least 8
                        8 years,
                          years, you
                                 you would
                                     would

 11· ·consider
 11   consider yourself having been
               yourself having been a
                                    a
 12· ·journalist?
 12   journalist?

 13·
 13 · · ·A.·
         A. · Yes.
              Yes.

 14· · · ·Q.·
 14       Q. · Talked to countless
               Talked to countless sources
                                   sources at
                                           at
 15· ·this
 15        point, right?
      this point, right?
 16·
 16 · · ·A.·
         A. · That's
              That's correct.
                     correct.

 17· · · ·Q.·
 17       Q. · If
               If someone
                  someone --
                          -- strike
                             strike that.
                                    that.
 18· · · · · · ·If
 18             If you interpreted someone
                   you interpreted someone as
                                           as
 19· ·urging
 19   urging you to make
             you to make a
                         a story,
                           story, at
                                  at least
                                     least in
                                           in
 20· ·part,
 20         about a
      part, about a crooked
                    crooked doctor,
                            doctor, would
                                    would you
                                          you

 21· ·assume
 21          that they
      assume that they knew
                       knew who the doctor
                            who the doctor was?
                                           was?

 22·
 22 · · ·A.·
         A. · I
              I wouldn't make an
                wouldn't make an assumption.
                                 assumption.

 23·
 23 ·That's
     That's one thing I
            one thing I have learned in
                        have learned in
 24·
 24 ·journalism is to
     journalism is to assume
                      assume nothing.
                             nothing.

 25· · · ·Q.·
 25       Q. · If
               If someone
                  someone was urging you
                          was urging     to
                                     you to


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 ·1·
  1 ·September 15th, 2020?
     September 15th, 2020?
 ·2·
  2 · · ·A.·
         A. · No,
              No, he
                  he was
                     was not
                         not present.·
                             present. I  don't
                                       I don't

 ·3·
  3 ·even
     even recall if he
          recall if he was in the
                       was in the Zoom
                                  Zoom himself.
                                       himself.

 ·4·
  4 · · · · · ·There -- if
               There -- if I
                           I can
                             can back
                                 back up,
                                      up, there
                                          there

 ·5·
  5 ·may
     may have
         have been
              been other
                   other NBC
                         NBC people
                             people present
                                    present but
                                            but

 ·6·
  6 ·not
     not visible in the
         visible in the Zoom in order
                        Zoom in       to record
                                order to record

 ·7·
  7 ·the
     the Zoom,
         Zoom, but I don't
               but I don't recall
                           recall who that was.
                                  who that was.

 ·8·
  8 ·It
     It would
        would not
              not have
                  have been Aarne.· It
                       been Aarne.  It was
                                       was

 ·9·
  9 ·probably
     probably someone
              someone from
                      from a
                           a technical
                             technical

 10·
 10 ·operations.
     operations.

 11·
 11 · · · · · ·Aarne
               Aarne -- Aarne
                        Aarne has
                              has been
                                  been my
                                       my

 12·
 12 ·producer
     producer for many years.·
              for many         And so
                       years. And  so we
                                      we work
                                         work

 13·
 13 ·together
     together on things, all
              on things, all kinds
                             kinds of things,
                                   of things,

 14·
 14 ·including
     including getting interviews transcribed.
               getting interviews transcribed.
 15·
 15 ·Aarne
     Aarne would
           would be the one,
                 be the one, you
                             you know,
                                 know, whatever
                                       whatever

 16·
 16 ·the
     the process is to
         process is to get
                       get a
                           a transcript
                             transcript of the
                                        of the

 17·
 17 ·interview.
     interview.

 18· · · ·Q.·
 18       Q. · Did
               Did you review Exhibit
                   you review Exhibit 9
                                      9
 19· ·yesterday
 19             during your
      yesterday during      meeting?
                       your meeting?

 20·
 20 · · ·A.·
         A. · On Monday, yes.
              On Monday, yes.

 21· · · ·Q.·
 21       Q. · On
               On Monday.
                  Monday.· Sorry.
                           Sorry.
 22·
 22 · · · · · ·(Discussion
               (Discussion held
                           held off the
                                off the

 23·
 23 · · ·record.)
         record.)

 24·
 24 ·BY MS. EVANS:
     BY MS. EVANS:
 25· · · ·Q.·
 25       Q. · On
               On Monday
                  Monday you reviewed
                         you reviewed


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 ·1·
  1 ·Exhibit
     Exhibit 9?
             9?

 ·2·
  2 · · ·A.·
         A. · Correct.
              Correct.

 ·3·
  3 · · ·Q.·
         Q. · After
              After this
                    this transcript
                         transcript was
                                    was --

 ·4·
  4 ·strike
     strike that.
            that.

 ·5·
  5 · · · · · ·Your interview was
               Your interview     via Zoom
                              was via Zoom and
                                           and
 ·6·
  6 ·then someone made
     then someone made this
                       this transcript?
                            transcript?

 ·7·
  7 · · ·A.·
         A. · Correct.·
              Correct. The
                        The process is, I
                            process is, I

 ·8·
  8 ·think, it's probably
     think, it's probably sent
                          sent out to a
                               out to a

 ·9·
  9 ·transcription
     transcription service
                   service and -- and
                           and --     then it's
                                  and then it's
 10·
 10 ·returned.
     returned.

 11· · · ·Q.·
 11       Q. · And
               And then
                   then you shared this
                        you shared this with
                                        with

 12· ·various
 12           individuals?
      various individuals?

 13·
 13 · · ·A.·
         A. · Either
              Either myself
                     myself or Aarne.
                            or Aarne.

 14· · · ·Q.·
 14       Q. · Do
               Do you recall who
                  you recall who you shared it
                                 you shared it
 15· ·with?
 15   with?

 16·
 16 · · ·A.·
         A. · I might have
              I might have shared it with
                           shared it with the
                                          the

 17·
 17 ·Cory
     Cory Gnazzo,
          Gnazzo, Rachel Maddow's executive
                  Rachel Maddow's executive
 18·
 18 ·producer.·
     producer. II probably
                  probably sent it around
                           sent it around quite
                                          quite

 19·
 19 ·widely.
     widely.

 20· · · ·Q.·
 20       Q. · Certainly
               Certainly Julia?
                         Julia?

 21·
 21 · · ·A.·
         A. · Probably
              Probably so,
                       so, although
                           although I
                                    I don't
                                      don't

 22·
 22 ·recall
     recall specifically
            specifically sending it to
                         sending it to her
                                       her but
                                           but

 23·
 23 ·very likely.
     very likely.

 24· · · ·Q.·
 24       Q. · On
               On page
                  page 7
                       7 up
                         up at
                            at the
                               the top
                                   top if
                                       if it's
                                          it's
 25· ·easier
 25          for you
      easier for     to find,
                 you to find, but
                              but the
                                  the Bates
                                      Bates

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 ·1·
  1 ·number 410 at
     number 410 at the
                   the bottom
                       bottom if
                              if it's
                                 it's easier
                                      easier
 ·2·
  2 ·for
     for you to find
         you to find it
                     it that
                        that way.
                             way.

 ·3·
  3 · · · · · ·And actually, one
               And actually, one page
                                 page before
                                      before
 ·4·
  4 ·that, so page
     that, so page 6
                   6 at
                     at top
                        top or
                            or 411
                               411 at
                                   at the
                                      the
 ·5·
  5 ·bottom.
     bottom.

 ·6·
  6 · · · · · ·Do
               Do you see that?
                  you see that?
 ·7·
  7 · · ·A.·
         A. · Yes.
              Yes.

 ·8·
  8 · · ·Q.·
         Q. · At
              At the
                 the bottom,
                     bottom, the
                             the last
                                 last
 ·9·
  9 ·paragraph statement from
     paragraph statement from you.
                              you.

 10· · · · · · ·Do
 10             Do you see that?
                   you see that?
 11·
 11 · · ·A.·
         A. · Yes.
              Yes.

 12· · · ·Q.·
 12       Q. · Could
               Could you read what
                     you read what you said
                                   you said

 13· ·there?
 13   there?

 14·
 14 · · ·A.·
         A. · "I'll
              "I'll come
                    come back to the
                         back to the issues
                                     issues on
                                            on

 15·
 15 ·PPE
     PPE and
         and Covid,
             Covid, which to me
                    which to me having done
                                having done

 16·
 16 ·reporting
     reporting on
               on other
                  other ICE
                        ICE facilities
                            facilities sounds
                                       sounds

 17·
 17 ·similar to what
     similar to what we've
                     we've heard
                           heard from
                                 from other
                                      other ICE
                                            ICE

 18·
 18 ·facilities
     facilities as
                as well
                   well about
                        about the
                              the conditions
                                  conditions

 19·
 19 ·with
     with Covid."
          Covid."

 20· · · ·Q.·
 20       Q. · And
               And then
                   then you go on
                        you go on to
                                  to say
                                     say what?
                                         what?

 21· · · · · · ·And
 21                 our court
                And our court reporter
                              reporter is
                                       is lovely
                                          lovely
 22· ·and
 22       an amazing
      and an amazing human,
                     human, but
                            but she
                                she can
                                    can only
                                        only
 23· ·type
 23        so fast.
      type so fast.· And
                     And when
                         when we're reading --
                              we're reading --
 24· ·I'm
 24       saying this
      I'm saying this to
                      to myself
                         myself as
                                as much
                                   much as
                                        as
 25· ·you
 25       -- but
      you -- but when I ask
                 when I ask you to read
                            you to read or
                                        or when
                                           when


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 ·1·
  1 ·I read, let's
     I read, let's try
                   try to
                       to slow
                          slow down
                               down a
                                    a little
                                      little
 ·2·
  2 ·bit.
     bit.

 ·3·
  3 · · ·A.·
         A. · Got it.
              Got it.

 ·4·
  4 · · ·Q.·
         Q. · What
              What do
                   do you say next?
                      you say next?

 ·5·
  5 · · ·A.·
         A. · "What
              "What I
                    I want to ask
                      want to ask you
                                  you about
                                      about

 ·6·
  6 ·what
     what I
          I think is perhaps
            think is perhaps the
                             the most
                                 most startling
                                      startling

 ·7·
  7 ·revelation
     revelation or
                or allegation in your
                   allegation in your complaint
                                      complaint

 ·8·
  8 ·and
     and that's
         that's about
                about hysterectomies that took
                      hysterectomies that took
 ·9·
  9 ·place
     place with
           with an
                an outside doctor for
                   outside doctor for detainees
                                      detainees
 10·
 10 ·that
     that were
          were residing in Irwin."
               residing in Irwin."
 11· · · ·Q.·
 11       Q. · Did
               Did Ms.
                   Ms. Wooten
                       Wooten provide
                              provide you
                                      you with
                                          with

 12· ·Dr.
 12       Amin's name
      Dr. Amin's name during
                      during this interview?
                             this interview?

 13·
 13 · · ·A.·
         A. · No.
              No.

 14· · · ·Q.·
 14       Q. · She
               She didn't
                   didn't know
                          know the
                               the doctor's
                                   doctor's
 15· ·name,
 15         did she?
      name, did she?
 16·
 16 · · ·A.·
         A. · I
              I believe
                believe I
                        I asked
                          asked her in the
                                her in the

 17·
 17 ·interview.· If I
     interview. If  I recall
                      recall correctly,
                             correctly, she
                                        she did
                                            did

 18·
 18 ·not
     not know
         know his
              his name.
                  name.

 19· · · ·Q.·
 19       Q. · Did
               Did you find that
                   you find that concerning,
                                 concerning,
 20· ·that
 20        she would
      that she       not have
               would not have that
                              that basic
                                   basic piece
                                         piece
 21· ·of
 21      information about
      of information about who
                           who was doing these
                               was doing these
 22· ·things
 22          that she
      things that she was alleging were
                      was alleging      done to
                                   were done to
 23· ·women
 23         at ICDC?
      women at ICDC?
 24·
 24 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to

 25·
 25 · · ·form.
         form.


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 ·1·
  1 · · ·A.·
         A. · Not
              Not at
                  at all.
                     all.

 ·2·
  2 ·BY MS. EVANS:
     BY MS. EVANS:
 ·3·
  3 · · ·Q.·
         Q. · Why
              Why not?
                  not?

 ·4·
  4 · · ·A.·
         A. · Because Ms. Wooten
              Because Ms. Wooten worked in an
                                 worked in an

 ·5·
  5 ·ICE
     ICE detention
         detention center.· And having
                   center. And  having reported
                                       reported

 ·6·
  6 ·from inside ICE
     from inside ICE detention
                     detention centers myself
                               centers myself

 ·7·
  7 ·and
     and spoken
         spoken with
                with other
                     other people
                           people who
                                  who have
                                      have

 ·8·
  8 ·worked
     worked within ICE detention
            within ICE detention centers,
                                 centers, I
                                          I

 ·9·
  9 ·understand
     understand or
                or understood
                   understood that
                              that oftentimes
                                   oftentimes

 10·
 10 ·these
     these folks
           folks are
                 are working
                     working under
                             under stressful
                                   stressful

 11·
 11 ·conditions.·
     conditions. Resources
                  Resources are
                            are strained.
                                strained.

 12·
 12 ·There
     There are lots of
           are lots of --
                       -- there
                          there are lots of
                                are lots of

 13·
 13 ·things
     things going
            going on, including, in
                  on, including, in her
                                    her case,
                                        case,

 14·
 14 ·what
     what sounded like a
          sounded like a very
                         very stressful
                              stressful

 15·
 15 ·situation
     situation with
               with regard to the
                    regard to the pandemic.
                                  pandemic.

 16·
 16 · · · · · ·There
               There was
                     was a lot going
                         a lot going on,
                                     on, and
                                         and

 17·
 17 ·remembering the name
     remembering the name of
                          of a
                             a doctor
                               doctor or
                                      or not
                                         not

 18·
 18 ·remembering the name
     remembering the name of
                          of a
                             a doctor is --
                               doctor is

 19·
 19 ·wouldn't
     wouldn't surprise me at
              surprise me at all.
                             all.

 20· · · ·Q.·
 20       Q. · You
               You asked
                   asked Ms.
                         Ms. Wooten
                             Wooten during
                                    during the
                                           the
 21· ·interview
 21             about the
      interview about the number of women
                          number of       that
                                    women that

 22· ·alleged
 22           to have
      alleged to have had
                      had unnecessary
                          unnecessary
 23· ·hysterectomies,
 23                   right?
      hysterectomies, right?

 24·
 24 · · ·A.·
         A. · I
              I believe
                believe so.
                        so.

 25· · · ·Q.·
 25       Q. · And
               And you asked her
                   you asked her about
                                 about the
                                       the


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 ·1·
  1 ·number of women
     number of       that she
               women that she talked to that
                              talked to that
 ·2·
  2 ·told her that
     told her that either
                   either they
                          they had
                               had had
                                   had
 ·3·
  3 ·unnecessary hysterectomies or
     unnecessary hysterectomies or knew
                                   knew of
                                        of
 ·4·
  4 ·others
     others who claimed that,
            who claimed that, right?
                              right?
 ·5·
  5 · · ·A.·
         A. · I
              I believe
                believe so.
                        so.

 ·6·
  6 · · ·Q.·
         Q. · And
              And she
                  she couldn't
                      couldn't give
                               give you an
                                    you an

 ·7·
  7 ·answer to either
     answer to either of
                      of those
                         those questions,
                               questions,
 ·8·
  8 ·right?
     right?

 ·9·
  9 · · ·A.·
         A. · I
              I believe that's correct.
                believe that's correct.

 10· · · ·Q.·
 10       Q. · Was
               Was that
                   that concerning
                        concerning to
                                   to you?
                                      you?

 11·
 11 · · ·A.·
         A. · Same
              Same answer.
                   answer.

 12· · · ·Q.·
 12       Q. · And
               And same
                   same reason
                        reason why, because
                               why, because

 13· ·there's
 13           a lot
      there's a lot going
                    going on?
                          on?
 14·
 14 · · ·A.·
         A. · There's
              There's a lot --
                      a lot -- workers
                               workers

 15·
 15 ·generally, I'm not
     generally, I'm not speaking
                        speaking specifically
                                 specifically

 16·
 16 ·of Ms. Wooten.·
     of Ms.          Again, I
            Wooten. Again,  I have
                              have spoken --
                                   spoken --

 17·
 17 ·I've
     I've been inside ICE
          been inside     detention in
                      ICE detention in
 18·
 18 ·California.·
     California. II have
                    have spoken to workers
                         spoken to workers who
                                           who

 19·
 19 ·work
     work for
          for ICE in other
              ICE in other parts
                           parts of the
                                 of the

 20·
 20 ·country.
     country.

 21·
 21 · · · · · ·And
               And oftentimes these are
                   oftentimes these are

 22·
 22 ·intense, traumatic jobs
     intense, traumatic jobs that
                             that are
                                  are

 23·
 23 ·overwhelming to people.·
     overwhelming to          And so
                     people. And  so particular
                                     particular

 24·
 24 ·details
     details of
             of particular
                particular stories
                           stories are told by
                                   are told by

 25·
 25 ·a detainee or
     a detainee    multiple detainees
                or multiple detainees when they
                                      when they


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 ·1·
  1 ·meet literally, you
     meet literally, you know,
                         know, potentially
                               potentially

 ·2·
  2 ·hundreds, if not
     hundreds, if     thousands, of
                  not thousands,    detainees,
                                 of detainees,

 ·3·
  3 ·it's
     it's not
          not surprising that she
              surprising that     didn't
                              she didn't

 ·4·
  4 ·remember
     remember specific
              specific details.
                       details.

 ·5·
  5 · · ·Q.·
         Q. · Well,
              Well, with all that's
                    with all that's going
                                    going on
                                          on
 ·6·
  6 ·and her not
     and her     being able
             not being able to recall numbers
                            to recall numbers
 ·7·
  7 ·of
     of women that she
        women that she talked
                       talked to or numbers
                              to or numbers of
                                            of
 ·8·
  8 ·women that were
     women that      making these
                were making       allegations,
                            these allegations,

 ·9·
  9 ·not being able
     not being able to
                    to identify
                       identify the
                                the doctor,
                                    doctor,
 10· ·isn't
 10         it also
      isn't it also logical
                    logical that
                            that she
                                 she may
                                     may have
                                         have
 11· ·had
 11   had the details of
          the details of what
                         what was even told
                              was even told to
                                            to
 12· ·her
 12   her wrong?
          wrong?

 13·
 13 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to

 14·
 14 · · ·form.
         form.

 15·
 15 · · ·A.·
         A. · Sure,
              Sure, that's
                    that's possible.·
                           possible. But
                                      But

 16·
 16 ·that's
     that's why
            why we're
                we're reporters
                      reporters and
                                and we
                                    we continue
                                       continue

 17·
 17 ·to
     to speak
        speak with
              with other
                   other sources
                         sources to
                                 to corroborate
                                    corroborate

 18·
 18 ·information.· And, in
     information. And,  in this
                           this case,
                                case, whether
                                      whether

 19·
 19 ·that
     that was information in
          was information in the
                             the complaint
                                 complaint or
                                           or

 20·
 20 ·what Ms. Wooten
     what Ms.        told me
              Wooten told me directly,
                             directly, which is
                                       which is

 21·
 21 ·exactly
     exactly what
             what we
                  we did.
                     did.

 22·
 22 ·BY MS. EVANS:
     BY MS. EVANS:
 23· · · ·Q.·
 23       Q. · Well,
               Well, the
                     the complaint
                         complaint was based on
                                   was based on
 24· ·information
 24               from Ms.
      information from Ms. Wooten
                           Wooten in
                                  in large
                                     large part,
                                           part,
 25· ·right?
 25   right?


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 ·1·
  1 · · · · · ·MS. MCNAMARA:· Objection;
               MS. MCNAMARA:  Objection;

 ·2·
  2 · · ·mischaracterization.
         mischaracterization.

 ·3·
  3 · · ·A.·
         A. · The
              The complaint
                  complaint also included
                            also included

 ·4·
  4 ·interviews
     interviews with
                with detainees.
                     detainees.

 ·5·
  5 ·BY MS. EVANS:
     BY MS. EVANS:
 ·6·
  6 · · ·Q.·
         Q. · Which
              Which you didn't see,
                    you didn't see, right?
                                    right?
 ·7·
  7 · · ·A.·
         A. · But
              But they
                  they were
                       were characterized in
                            characterized in

 ·8·
  8 ·the
     the complaint.
         complaint.

 ·9·
  9 · · · · · ·I did not
               I did not see,
                         see, correct,
                              correct, as
                                       as far
                                          far

 10·
 10 ·as
     as I
        I recall.
          recall.

 11· · · ·Q.·
 11       Q. · And
               And you don't know
                   you don't know who
                                  who the
                                      the

 12· ·detain
 12          -- strike
      detain -- strike that.
                       that.
 13· · · · · · ·Do
 13             Do you know who
                   you know     the detainees
                            who the detainees
 14· ·were
 14        that were
      were that      even interviewed
                were even interviewed as
                                      as
 15· ·reflected
 15             in Exhibit
      reflected in Exhibit 2?
                           2?
 16·
 16 · · ·A.·
         A. · No,
              No, I
                  I don't
                    don't believe
                          believe I did.
                                  I did.

 17· · · ·Q.·
 17       Q. · Ms.
               Ms. Wooten
                   Wooten didn't
                          didn't have
                                 have any
                                      any
 18· ·firsthand
 18             knowledge of
      firsthand knowledge of what happened to
                             what happened to
 19· ·any
 19       detainee during
      any detainee during any
                          any medical
                              medical
 20· ·examination
 20               or procedure,
      examination or procedure, right?
                                right?
 21·
 21 · · ·A.·
         A. · Can
              Can you
                  you repeat that?· Sorry.
                      repeat that?  Sorry.

 22· · · ·Q.·
 22       Q. · Ms.
               Ms. Wooten
                   Wooten didn't
                          didn't have
                                 have any
                                      any
 23· ·first
 23         -- strike
      first -- strike that.
                      that.
 24· · · · · · ·Ms.
 24                 Wooten did
                Ms. Wooten did not
                               not have
                                   have any
                                        any
 25· ·firsthand
 25             knowledge of
      firsthand knowledge of what happened to
                             what happened to

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 ·1·
  1 ·any detainee during
     any detainee during any
                         any medical
                             medical
 ·2·
  2 ·examination or procedure,
     examination or procedure, right?
                               right?
 ·3·
  3 · · ·A.·
         A. · She
              She was
                  was not
                      not present,
                          present, no.
                                   no.

 ·4·
  4 ·According to my
     According to my interview
                     interview with
                               with her,
                                    her,

 ·5·
  5 ·correct.
     correct.

 ·6·
  6 · · ·Q.·
         Q. · Which
              Which means
                    means she
                          she doesn't
                              doesn't have
                                      have
 ·7·
  7 ·firsthand knowledge of
     firsthand knowledge of what happened to
                            what happened to
 ·8·
  8 ·detainees during those
     detainees during those medical
                            medical visits,
                                    visits,
 ·9·
  9 ·right?
     right?

 10·
 10 · · ·A.·
         A. · Correct.
              Correct.

 11· · · ·Q.·
 11       Q. · And
               And the other sources
                   the other sources that
                                     that you
                                          you

 12· ·spoke
 12   spoke with on September
            with on September 15th,
                              15th, 2020
                                    2020 with
                                         with

 13· ·regard
 13          to detainees
      regard to detainees at
                          at ICDC
                             ICDC were lawyers,
                                  were lawyers,

 14· ·true?
 14   true?

 15·
 15 · · ·A.·
         A. · Correct.
              Correct.

 16· · · ·Q.·
 16       Q. · You
               You didn't
                   didn't speak
                          speak directly
                                directly to
                                         to any
                                            any
 17· ·detainees?
 17   detainees?

 18·
 18 · · ·A.·
         A. · I don't recall
              I don't recall having
                             having spoken to
                                    spoken to

 19·
 19 ·detainees
     detainees on that date,
               on that date, no.
                             no.

 20· · · ·Q.·
 20       Q. · And
               And none of the
                   none of the attorneys
                               attorneys that
                                         that
 21· ·you
 21       spoke with
      you spoke      on September
                with on September 15,
                                  15, 2020
                                      2020 had
                                           had
 22· ·any
 22       firsthand knowledge
      any firsthand knowledge of
                              of what happened
                                 what happened

 23· ·to
 23      any detainees
      to any detainees during
                       during a
                              a medical
                                medical visit,
                                        visit,
 24· ·true?
 24   true?

 25·
 25 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to


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 ·1·
  1 · · ·form.
         form.

 ·2·
  2 · · ·A.·
         A. · They
              They weren't
                   weren't present
                           present but
                                   but

 ·3·
  3 ·detainees, they said,
     detainees, they       told them
                     said, told them what
                                     what

 ·4·
  4 ·happened.
     happened.

 ·5·
  5 ·BY MS. EVANS:
     BY MS. EVANS:
 ·6·
  6 · · ·Q.·
         Q. · Which
              Which means
                    means that
                          that the
                               the lawyers
                                   lawyers
 ·7·
  7 ·didn't have firsthand
     didn't have firsthand knowledge
                           knowledge of
                                     of what
                                        what

 ·8·
  8 ·happened
     happened with the detainees
              with the detainees during
                                 during their
                                        their
 ·9·
  9 ·medical visits while
     medical visits       being detained
                    while being detained at
                                         at
 10· ·ICDC,
 10   ICDC, true?
            true?

 11·
 11 · · ·A.·
         A. · Correct.·
              Correct. The  lawyers were
                        The lawyers were not
                                         not

 12·
 12 ·detained themselves.
     detained themselves.

 13· · · ·Q.·
 13       Q. · And
               And were
                   were not in the
                        not in the medical
                                   medical
 14· ·examination
 14               or procedure
      examination or procedure room
                               room with any of
                                    with any of
 15· ·the
 15       detainees from
      the detainees from ICDC,
                         ICDC, right?
                               right?
 16·
 16 · · ·A.·
         A. · That's
              That's correct.
                     correct.

 17· · · ·Q.·
 17       Q. · What
               What --
                    -- strike
                       strike that.
                              that.
 18· · · · · · ·From
 18             From your review of
                     your review of Exhibit
                                    Exhibit 2
                                            2
 19· ·and
 19       from your
      and from      interview with
               your interview      Ms. Wooten
                              with Ms. Wooten as
                                              as
 20· ·reflected
 20             in Exhibit
      reflected in Exhibit 9,
                           9, did
                              did you think
                                  you think

 21· ·Ms.
 21       Wooten was
      Ms. Wooten     more concerned
                 was more concerned with Covid
                                    with Covid

 22· ·or
 22      more concerned
      or more concerned with
                        with the gynecological
                             the gynecological

 23· ·allegations?
 23   allegations?

 24·
 24 · · ·A.·
         A. · I
              I couldn't make that
                couldn't make that judgment
                                   judgment
 25·
 25 ·call
     call about
          about her level of
                her level of concern
                             concern about
                                     about


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 ·1·
  1 ·here,
     here, and
           and she
               she was
                   was also
                       also concerned
                            concerned about the
                                      about the

 ·2·
  2 ·treatment
     treatment of these women
               of these women who
                              who she
                                  she had
                                      had

 ·3·
  3 ·spoken
     spoken with
            with who
                 who said that they
                     said that they were
                                    were

 ·4·
  4 ·mistreated
     mistreated by
                by a
                   a doctor,
                     doctor, even though she
                             even though she

 ·5·
  5 ·couldn't
     couldn't name the doctor.
              name the doctor.

 ·6·
  6 · · · · · ·But
               But I
                   I don't
                     don't want to say
                           want to say one
                                       one more
                                           more

 ·7·
  7 ·than
     than another,
          another, and
                   and she didn't say
                       she didn't say one
                                      one way
                                          way

 ·8·
  8 ·over
     over another.
          another.

 ·9·
  9 ·BY MS. EVANS:
     BY MS. EVANS:
 10· · · ·Q.·
 10       Q. · You
               You didn't
                   didn't ask
                          ask her
                              her to
                                  to
 11· ·characterize
 11                it that
      characterize it that way, right?
                           way, right?

 12·
 12 · · ·A.·
         A. · Yeah,
              Yeah, I
                    I wouldn't
                      wouldn't have.·
                               have. I  don't
                                      I don't

 13·
 13 ·know
     know why
          why I
              I would
                would have done that.
                      have done that.

 14· · · ·Q.·
 14       Q. · And
               And your testimony under
                   your testimony under oath
                                        oath is
                                             is
 15· ·that
 15        considering why
      that considering     she thought
                       why she         her hours
                               thought her hours
 16· ·were
 16        reduced and
      were reduced and considering
                       considering the
                                   the number
                                       number of
                                              of
 17· ·pages
 17         devoted to
      pages devoted to gynecological
                       gynecological allegations
                                     allegations
 18· ·versus
 18          the number
      versus the number of
                        of pages
                           pages devoted
                                 devoted to
                                         to
 19· ·Covid
 19         allegations in
      Covid allegations in Exhibit
                           Exhibit 2,
                                   2, you took
                                      you took

 20· ·no
 20      indication about
      no indication about whether Ms. Wooten
                          whether Ms. Wooten was
                                             was

 21· ·more
 21        concerned about
      more concerned about Covid
                           Covid or
                                 or about
                                    about
 22· ·allegations
 22               regarding gynecological
      allegations regarding gynecological care
                                          care
 23· ·at
 23      ICDC?
      at ICDC?

 24·
 24 · · · · · ·MS. MCNAMARA:· Objection
               MS. MCNAMARA:            to
                              Objection to

 25·
 25 · · ·form.· Asked and
         form. Asked  and answered.
                          answered.


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 ·1·
  1 ·BY MS. EVANS:
     BY MS. EVANS:
 ·2·
  2 · · ·Q.·
         Q. · It
              It sounds
                 sounds like
                        like the
                             the answer
                                 answer is
                                        is
 ·3·
  3 ·"no."
     "no."

 ·4·
  4 · · · · · ·MS. MCNAMARA:· Objection.
               MS. MCNAMARA:  Objection

 ·5·
  5 · · ·Mischaracterization --
         Mischaracterization --

 ·6·
  6 · · ·A.·
         A. · You
              You are
                  are putting
                      putting words in my
                              words in my

 ·7·
  7 ·mouth.
     mouth.

 ·8·
  8 ·BY MS. EVANS:
     BY MS. EVANS:
 ·9·
  9 · · ·Q.·
         Q. · Tell me.
              Tell me.

 10·
 10 · · · · · ·MS. MCNAMARA:· --
               MS. MCNAMARA:  -- of
                                 of his
                                    his

 11·
 11 · · ·testimony.
         testimony.

 12·
 12 · · ·A.·
         A. · I told you.·
              I told you. II am
                             am not
                                not a
                                    a

 13·
 13 ·psychiatrist
     psychiatrist or
                  or psychologist.·
                     psychologist. I'm
                                    I'm not
                                        not

 14·
 14 ·here
     here to
          to analyze
             analyze her.·
                     her. I'm
                           I'm a
                               a reporter
                                 reporter and
                                          and I
                                              I

 15·
 15 ·deal
     deal with facts on
          with facts    the ground
                     on the ground and I dealt
                                   and I dealt

 16·
 16 ·with
     with the
          the facts that she
              facts that she gave me and
                             gave me     that's
                                     and that's

 17·
 17 ·it.·
     it. I  don't make
          I don't      judgment calls
                  make judgment calls about
                                      about how
                                            how

 18·
 18 ·people
     people feel.
            feel.

 19·
 19 ·BY MS. EVANS:
     BY MS. EVANS:
 20·
 20     · · ·Q.·
             Q. · But
                  But you took nothing
                      you took nothing from
                                       from the
                                            the
 21·
 21     ·information
         information with regard to
                     with regard to whether she was
                                    whether she was

 22·
 22     ·more concerned about
         more concerned about one
                              one thing over the
                                  thing over the
 23·
 23     ·other?
         other?

 24·
 24 · · ·A.·
         A. · Again
              Again --
                    --
 25·
 25 · · · · · ·MS. MCNAMARA:· Objection.
               MS. MCNAMARA:  Objection.


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 ·1·
  1 · · ·Mischaracterization.· And this
         Mischaracterization. And  this has
                                        has

 ·2·
  2 · · ·been
         been asked
              asked and
                    and answered
                        answered three
                                 three or four
                                       or four

 ·3·
  3 · · ·times
         times at this point.
               at this point.

 ·4·
  4 · · ·A.·
         A. · --
              -- I
                 I don't
                   don't consider my job
                         consider my job to
                                         to

 ·5·
  5 ·make
     make assumptions
          assumptions about
                      about the
                            the way
                                way people
                                    people feel
                                           feel

 ·6·
  6 ·about
     about things.·
           things. Sort
                    Sort of
                         of a
                            a cardinal
                              cardinal rule
                                       rule of
                                            of

 ·7·
  7 ·journalism.· We deal
     journalism. We  deal with the facts.
                          with the facts.

 ·8·
  8 ·BY MS. EVANS:
     BY MS. EVANS:
 ·9·
  9 · · ·Q.·
         Q. · At
              At some
                 some point,
                      point, was there an
                             was there an
 10· ·article
 10   article written
              written with regard to
                      with regard to allegations
                                     allegations
 11· ·at
 11      ICDC?
      at ICDC?

 12·
 12 · · · · · ·MS. MCNAMARA:· Article
               MS. MCNAMARA:  Article written
                                      written

 13·
 13 · · ·by
         by whom?· What are
            whom? What  are you talking about?
                            you talking about?

 14·
 14 · · · · · ·MS. EVANS:· I'll
               MS. EVANS:  I'll rephrase the
                                rephrase the

 15·
 15 · · ·question.·
         question. You
                    You know exactly what
                        know exactly      I'm
                                     what I'm

 16·
 16 · · ·talking
         talking about.· Everything is
                 about. Everything  is going to
                                       going to

 17·
 17 · · ·be
         be hard
            hard and that's fine.
                 and that's fine.· The
                                   The jury's
                                       jury's

 18·
 18 · · ·not
         not going to love
             going to love this,
                           this, but it is
                                 but it is what
                                           what

 19·
 19 · · ·it is.
         it is.

 20·
 20 · · · · · ·MS. MCNAMARA:· I
               MS. MCNAMARA:    feel that
                              I feel that might
                                          might
 21·
 21 · · ·be
         be a
            a different
              different conclusion.
                        conclusion.

 22·
 22 ·BY MS. EVANS:
     BY MS. EVANS:
 23· · · ·Q.·
 23       Q. · Mr.
               Mr. Soboroff,
                   Soboroff, did
                             did you
                                 you

 24· ·participate
 24               in writing
      participate in         an article
                     writing an article for
                                        for NBC
                                            NBC
 25· ·News
 25   News with regard to
           with regard to allegations
                          allegations of
                                      of

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 ·1·
  1  ·gynecological care at
      gynecological care at ICDC
                            ICDC on
                                 on or
                                    or about
                                       about
 ·2·
  2 ·September, 15 of
     September, 15 of 2020?
                      2020?
 ·3·
  3 · · ·A.·
         A. · Yes,
              Yes, I
                   I did.
                     did.

 ·4·
  4 · · ·Q.·
         Q. · How
              How --
                  -- strike
                     strike that.
                            that.
 ·5·
  5 · · · · · ·Did
               Did you see any
                   you see any versions
                               versions of
                                        of that
                                           that
 ·6·
  6 ·article
     article yesterday during your
             yesterday during      deposition
                              your deposition

 ·7·
  7 ·preparation?
     preparation?

 ·8·
  8 · · ·A.·
         A. · On Monday, yes,
              On Monday, yes, I
                              I did.
                                did.

 ·9·
  9 · · ·Q.·
         Q. · I
              I keep
                keep doing
                     doing that.
                           that.
 10· · · · · · ·On
 10                Monday, how
                On Monday, how many
                               many versions
                                    versions did
                                             did
 11· ·you
 11       see?
      you see?

 12·
 12 · · ·A.·
         A. · I don't recall
              I don't        the exact
                      recall the exact name,
                                       name,

 13·
 13 ·but
     but generally
         generally speaking,
                   speaking, when
                             when we
                                  we work
                                     work on
                                          on

 14·
 14 ·stories,
     stories, we
              we work in drafts.
                 work in drafts.· And
                                  And there
                                      there

 15·
 15 ·were
     were multiple
          multiple versions
                   versions of
                            of this
                               this story
                                    story

 16·
 16 ·because,
     because, as
              as always,
                 always, as
                         as a
                            a reporter,
                              reporter, stories
                                        stories

 17·
 17 ·are
     are often dynamic and
         often dynamic and we
                           we add to them
                              add to them when
                                          when

 18·
 18 ·it's
     it's appropriate.
          appropriate.

 19· · · ·Q.·
 19       Q. · I
               I understand
                 understand drafts
                            drafts of
                                   of an
                                      an
 20· ·article
 20           to be,
      article to be, you know --
                     you know -- this
                                 this is
                                      is going
                                         going
 21· ·to
 21      be an
      to be an inartful
               inartful question,
                        question, but
                                  but bear
                                      bear with
                                           with

 22· ·me
 22      -- Julia
      me --       makes a
            Julia makes a draft
                          draft and
                                and you may have
                                    you may have
 23· ·a
 23     comment, someone
      a comment, someone else
                         else may
                              may have
                                  have comments
                                       comments
 24· ·and
 24   and you pass it
          you pass it back
                      back and
                           and forth
                               forth internally,
                                     internally,
 25· ·right?·
 25           Is that
      right? Is  that what
                      what you
                           you were referring to
                               were referring to

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 ·1·
  1 ·as drafts?
     as drafts?

 ·2·
  2 · · ·A.·
         A. · Well,
              Well, yes, that's a
                    yes, that's a relatively
                                  relatively

 ·3·
  3 ·accurate
     accurate characterization.
              characterization.

 ·4·
  4 · · ·Q.·
         Q. · And
              And I
                  I may
                    may be
                        be using
                           using the
                                 the word
                                     word

 ·5·
  5 ·"versions"  different than
     " versions" different than you.
                                you.

 ·6·
  6 · · · · · ·Do
               Do you know how
                  you know how many
                               many iterations
                                    iterations
 ·7·
  7 ·of the article
     of the article were published?
                    were published?

 ·8·
  8 · · ·A.·
         A. · I
              I guess
                guess I
                      I wouldn't
                        wouldn't use
                                 use that
                                     that

 ·9·
  9 ·terminology.·
     terminology. Once
                   Once an
                        an article is
                           article is

 10·
 10 ·published, if there's
     published, if there's additional
                           additional relevant
                                      relevant

 11·
 11 ·information,
     information, we
                  we would
                     would say
                           say an
                               an article is
                                  article is

 12·
 12 ·updated to reflect
     updated to reflect new information that
                        new information that we
                                             we

 13·
 13 ·learned.
     learned

 14· · · ·Q.·
 14       Q. · Do
               Do you know how
                  you know how many
                               many updates
                                    updates
 15· ·were
 15        made to
      were made to the
                   the article
                       article after
                               after it
                                     it was
                                        was

 16· ·first
 16         posted by
      first posted by NBC
                      NBC News?
                          News?
 17·
 17 · · ·A.·
         A. · I don't.
              I don't.

 18· · · ·Q.·
 18       Q. · Was
               Was it
                   it 17?
                      17?
 19·
 19 · · ·A.·
         A. · I
              I have
                have no idea.
                     no idea.

 20· · · ·Q.·
 20       Q. · Have
               Have you seen 17
                    you seen 17 updates
                                updates to the
                                        to the

 21· ·article
 21           at any
      article at any point
                     point in
                           in time?
                              time?

 22·
 22 · · ·A.·
         A. · I don't believe
              I don't believe so.
                              so.

 23· · · ·Q.·
 23       Q. · How
               How many
                   many --
                        -- strike
                           strike that.
                                  that.
 24· · · · · · ·Did
 24             Did you say that
                    you say that you have no
                                 you have no

 25· ·recollection
 25                of how
      recollection of how many
                          many updates
                               updates or
                                       or

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 ·1·
  1 ·versions of the
     versions of the article
                     article you may have
                             you may have seen
                                          seen
 ·2·
  2 ·on Monday?
     on Monday?

 ·3·
  3 · · ·A.·
         A. · My
              My recollection is less
                 recollection is less than
                                      than --

 ·4·
  4 ·less
     less than
          than a
               a handful.
                 handful.

 ·5·
  5 · · ·Q.·
         Q. · Handful
              Handful being?
                      being?
 ·6·
  6 · · ·A.·
         A. · Five.
              Five.

 ·7·
  7 · · ·Q.·
         Q. · What
              What was
                   was your role in
                       your role in drafting
                                    drafting
 ·8·
  8 ·the article itself?
     the article itself?
 ·9·
  9 · · ·A.·
         A. · I
              I conducted the interview
                conducted the interview with
                                        with

 10·
 10 ·Ms.
     Ms. Wooten.·
         Wooten. II conducted -- I
                    conducted -- I had
                                   had

 11·
 11 ·conversations, I believe,
     conversations, I believe, with
                               with at least
                                    at least

 12·
 12 ·one
     one attorney.· And then
         attorney. And  then Julia
                             Julia and
                                   and I
                                       I sort
                                         sort

 13·
 13 ·of
     of confer
        confer and
               and she is the
                   she is the actual -- she
                              actual -- she

 14·
 14 ·would
     would be
           be the literal writer,
              the literal         fingertips on
                          writer, fingertips on

 15·
 15 ·a
     a keyboard
       keyboard of the story.
                of the story.

 16· · · ·Q.·
 16       Q. · Did
               Did you provide any
                   you provide any edits
                                   edits to
                                         to
 17· ·Julia's
 17   Julia's writing, that you
              writing, that     recall?
                            you recall?

 18·
 18 · · ·A.·
         A. · I
              I am
                am not
                   not the editor, so
                       the editor, so I
                                      I

 19·
 19 ·wouldn't
     wouldn't have explicitly edited
              have explicitly        the story.
                              edited the story.

 20·
 20 ·There's
     There's a
             a specific editor of
               specific editor    the story.
                               of the story.                       I
                                                                   I

 21·
 21 ·maybe
     maybe verbally
           verbally gave
                    gave comments
                         comments on
                                  on an early
                                     an early

 22·
 22 ·version.·
     version. But
               But I -- it's
                   I -- it's possible
                             possible I
                                      I didn't
                                        didn't

 23·
 23 ·also.·
     also. I  don't recall.·
            I don't          We have
                    recall. We  have done many
                                     done many

 24·
 24 ·stories together.
     stories together.

 25· · · ·Q.·
 25       Q. · What
               What is
                    is standards?
                       standards?

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 ·1·
  1 · · ·A.·
         A. · In the context
              In the         of NBC
                     context of NBC News?
                                    News?

 ·2·
  2 · · ·Q.·
         Q. · Yes.
              Yes.
 ·3·
  3 · · ·A.·
         A. · It's
              It's a
                   a part
                     part of
                          of our
                             our reporting
                                 reporting

 ·4·
  4 ·process,
     process, a
              a group
                group of
                      of people
                         people with
                                with whom
                                     whom we
                                          we

 ·5·
  5 ·collaborate to make
     collaborate to make sure
                         sure our
                              our reporting is
                                  reporting is

 ·6·
  6 ·accurate
     accurate and fair and
              and fair and precise.
                           precise.

 ·7·
  7 · · ·Q.·
         Q. · Did
              Did standards
                  standards review
                            review the
                                   the article
                                       article
 ·8·
  8 ·in the different
     in the different iterations
                      iterations that
                                 that were
                                      were

 ·9·
  9 ·published by NBC
     published by NBC News?
                      News?
 10·
 10 · · ·A.·
         A. · I
              I believe
                believe so.
                        so.

 11· · · ·Q.·
 11       Q. · Did
               Did they review each
                   they review each iteration?
                                    iteration?
 12·
 12 · · ·A.·
         A. · Can
              Can you
                  you be more specific,
                      be more specific,

 13·
 13 ·please?
     please?

 14· · · ·Q.·
 14       Q. · Well,
               Well, there
                     there was more than
                           was more than one
                                         one
 15· ·iteration
 15             of the
      iteration of the article
                       article that
                               that published
                                    published to
                                              to
 16· ·NBC
 16       News, true?
      NBC News, true?
 17·
 17 · · ·A.·
         A. · There
              There were
                    were updates made to
                         updates made to the
                                         the

 18·
 18 ·story,
     story, as
            as I
               I would
                 would characterize it.
                       characterize it.

 19· · · ·Q.·
 19       Q. · There
               There were multiple updates
                     were multiple updates made
                                           made
 20· ·to
 20      the article
      to the article that
                     that were published by
                          were published by NBC
                                            NBC
 21· ·News,
 21   News, true?
            true?

 22·
 22 · · ·A.·
         A. · I
              I believe that's correct,
                believe that's correct, yes.
                                        yes.

 23· · · ·Q.·
 23       Q. · Would
               Would --
                     -- strike
                        strike that.
                               that.
 24· · · · · · ·Did
 24                 standards review
                Did standards review each
                                     each of
                                          of
 25· ·those
 25         updates?
      those updates?


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 ·1·
  1  · · ·there's
          there's multiple
                  multiple findings.
                           findings.

 ·2·
  2  · · · · · ·MS. EVANS:· Are
                MS. EVANS:  Are you
                                you aware -- is
                                    aware -- is
 ·3·
  3 · · ·he
         he aware
            aware of
                  of any
                     any of them?
                         of them?

 ·4·
  4 · · · · · ·MS. MCNAMARA:· Well,
               MS. MCNAMARA:  Well, that's
                                    that's not
                                           not

 ·5·
  5 · · ·what
         what you're
              you're asking.·
                     asking. You're
                              You're saying
                                     saying are
                                            are

 ·6·
  6 · · ·you
         you aware
             aware of the findings?
                   of the findings?

 ·7·
  7 ·BY MS. EVANS:
     BY MS. EVANS:
 ·8·
  8 · · ·Q.·
         Q. · Are
              Are you aware any
                  you aware any of
                                of the
                                   the
 ·9·
  9 ·findings -- are
     findings -- are you aware of
                     you aware of any
                                  any of
                                      of the
                                         the
 10· ·findings
 10            -- any
      findings -- any of
                      of them
                         them --
                              -- can
                                 can you tell me
                                     you tell me
 11· ·anything
 11            that was
      anything that     part of
                    was part of the
                                the findings
                                    findings
 12· ·from
 12   from the Senate investigation
           the Senate investigation with regard
                                    with regard

 13· ·to
 13      gynecological care
      to gynecological care at
                            at ICDC?
                               ICDC?
 14·
 14 · · ·A.·
         A. · You're
              You're making me feel
                     making me      like this
                               feel like this

 15·
 15 ·is
     is a
        a quiz that I
          quiz that I needed
                      needed to
                             to study the
                                study the

 16·
 16 ·answer to.· And
     answer to.  And I
                     I don't
                       don't want to do
                             want to do that
                                        that

 17·
 17 ·because this is
     because this is a
                     a forum in which
                       forum in which guessing
                                      guessing

 18·
 18 ·is
     is not
        not appropriate.
            appropriate.

 19· · · ·Q.·
 19       Q. · I
               I am
                 am not trying to
                    not trying to quiz
                                  quiz you.
                                       you.                       I
                                                                  I

 20· ·am
 20      not even
      am not even --
                  -- I'm
                     I'm not even going
                         not even going to
                                        to
 21· ·comment
 21           on whether
      comment on         I think
                 whether I think you're right or
                                 you're right or
 22· ·wrong
 22         about the
      wrong about the findings.
                      findings.
 23· · · · · · ·I
 23               am just
                I am      trying to
                     just trying to figure
                                    figure out
                                           out
 24· ·if
 24   if you can say
         you can say any
                     any of
                         of the
                            the findings
                                findings that
                                         that
 25· ·came
 25        out of
      came out of the
                  the Senate
                      Senate investigation
                             investigation with
                                           with


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 ·1·
  1 ·regard to gynecological
     regard to gynecological care
                             care at
                                  at ICDC.
                                     ICDC.
 ·2·
  2 · · ·A.·
         A. · I don't have
              I don't have a different
                           a different

 ·3·
  3 ·answer --
     answer --

 ·4·
  4 · · · · · ·MS. MCNAMARA:· This
               MS. MCNAMARA:  This has
                                   has been
                                       been

 ·5·
  5 · · ·asked
         asked and
               and answered.
                   answered.

 ·6·
  6 · · ·A.·
         A. · --
              -- to
                 to your
                    your question.
                         question.

 ·7·
  7 ·BY MS. EVANS:
     BY MS. EVANS:
 ·8·
  8 · · ·Q.·
         Q. · Even
              Even though
                   though you
                          you work for the
                              work for the

 ·9·
  9 ·Today Show now,
     Today Show now, you look at
                     you look at MSNBC
                                 MSNBC ratings
                                       ratings
 10· ·every
 10         day or
      every day or almost
                   almost every
                          every day
                                day in
                                    in your
                                       your

 11· ·testimony.
 11   testimony.

 12·
 12 · · ·A.·
         A. · They
              They arrive in my
                   arrive in my inbox,
                                inbox, so
                                       so

 13·
 13 ·sometimes
     sometimes I
               I click
                 click on them.· Sometimes
                       on them.  Sometimes I
                                           I

 14·
 14 ·don't.
     don't.

 15· · · ·Q.·
 15       Q. · Can
               Can you tell me
                   you tell me any
                               any information
                                   information
 16· ·about
 16   about those ratings that
            those ratings that you receive?
                               you receive?

 17·
 17 · · · · · ·MS. MCNAMARA:· Over
               MS. MCNAMARA:  Over what
                                   what period
                                        period

 18·
 18 · · ·of time?
         of time?

 19·
 19 ·BY MS. EVANS:
     BY MS. EVANS:
 20· · · ·Q.·
 20       Q. · Did
               Did you look at
                   you look at any
                               any of
                                   of the
                                      the

 21· ·ratings
 21           last week?
      ratings last week?

 22·
 22 · · ·A.·
         A. · They
              They came daily, and
                   came daily,     maybe one
                               and maybe one

 23·
 23 ·day
     day I looked at
         I looked    them.
                  at them.

 24· · · ·Q.·
 24       Q. · What
               What do
                    do they
                       they show
                            show with regard to
                                 with regard to
 25· ·MSNBC
 25         compared to
      MSNBC compared to Fox?
                        Fox?

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 ·1·
  1  · · ·A.·
          A. · Oh,
               Oh, that,
                   that, I don't know.·
                         I don't know. Like
                                        Like I
                                             I

 ·2·
  2 ·said,
     said, I
           I don't
             don't study them closely.·
                   study them           Maybe I
                              closely. Maybe  I

 ·3·
  3 ·looked
     looked at
            at Katie
               Katie Tur's
                     Tur's ratings
                           ratings because
                                   because

 ·4·
  4 ·she's
     she's one
           one of my dearest
               of my dearest friends
                             friends and
                                     and I
                                         I am
                                           am

 ·5·
  5 ·just looking to
     just looking to give moral support.·
                     give moral support. But
                                          But

 ·6·
  6 ·I'm
     I'm not
         not obsessed
             obsessed over
                      over anything like that.
                           anything like that.
 ·7·
  7 · · ·Q.·
         Q. · Have
              Have you been disciplined
                   you been disciplined by
                                        by
 ·8·
  8 ·anyone at NBC
     anyone at NBC News?
                   News?
 ·9·
  9 · · ·A.·
         A. · Never.
              Never.

 10· · · ·Q.·
 10       Q. · Have
               Have you ever been
                    you ever been the
                                  the recipient
                                      recipient
 11· ·of
 11      any warnings
      of any          or reviews
             warnings or reviews that
                                 that were
                                      were

 12· ·negative?
 12   negative?

 13·
 13 · · ·A.·
         A. · Never.·
              Never. On  the contrary
                      On the          in my
                             contrary in my
 14·
 14 ·time
     time at
          at NBC
             NBC News,
                 News, I
                       I have
                         have received multiple
                              received multiple

 15·
 15 ·journalism
     journalism awards, like the
                awards, like the Walter
                                 Walter

 16·
 16 ·Cronkite Award for
     Cronkite Award for Excellence
                        Excellence in
                                   in
 17·
 17 ·Television
     Television Journalism for my
                Journalism for my reporting
                                  reporting on
                                            on

 18·
 18 ·the
     the family
         family separation
                separation crisis
                           crisis at
                                  at border.
                                     border.                       I
                                                                   I

 19·
 19 ·won
     won the
         the Hillman
             Hillman prize
                     prize along
                           along with my
                                 with my

 20·
 20 ·colleagues
     colleagues at
                at NBC
                   NBC News.·
                       News. The
                              The opposite
                                  opposite of
                                           of

 21·
 21 ·receiving discipline.
     receiving discipline.

 22· · · ·Q.·
 22       Q. · Have
               Have you received any
                    you received any awards
                                     awards
 23· ·with
 23        regard to
      with regard to your reporting on
                     your reporting on ICDC?
                                       ICDC?
 24·
 24 · · ·A.·
         A. · Not
              Not that
                  that I
                       I know
                         know of.·
                              of. II am
                                     am not
                                        not

 25·
 25 ·sure
     sure we
          we submitted the reporting
             submitted the           for
                           reporting for


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 ·1·
  1 ·awards.
     awards.

 ·2·
  2 · · ·Q.·
         Q. · I
              I think
                think I
                      I heard
                        heard you say off
                              you say off
 ·3·
  3 ·camera that you
     camera that     had never
                 you had       been deposed
                         never been deposed
 ·4·
  4 ·before; is that
     before; is that right?
                     right?
 ·5·
  5 · · ·A.·
         A. · That's
              That's correct.
                     correct.

 ·6·
  6 · · ·Q.·
         Q. · Have
              Have you ever given
                   you ever given any
                                  any
 ·7·
  7 ·testimony in court?
     testimony in court?
 ·8·
  8 · · ·A.·
         A. · No.
              No.

 ·9·
  9 · · ·Q.·
         Q. · Do
              Do you know if
                 you know if any
                             any of
                                 of the
                                    the
 10· ·stories
 10   stories you have been
              you have been involved
                            involved in
                                     in
 11· ·reporting
 11             on have
      reporting on have been
                        been the subject of
                             the subject of a
                                            a
 12· ·defamation
 12              lawsuit other
      defamation lawsuit other than
                               than what brings
                                    what brings

 13· ·us
 13      here today?
      us here today?
 14·
 14 · · ·A.·
         A. · Not
              Not that
                  that I
                       I know
                         know of,
                              of, no.
                                  no.

 15· · · ·Q.·
 15       Q. · In
               In September
                  September of
                            of 2020,
                               2020, you
                                     you

 16· ·reported
 16            to Betsy
      reported to Betsy Currens?
                        Currens?
 17·
 17 · · ·A.·
         A. · Korona.
              Korona.

 18· · · ·Q.·
 18       Q. · Korona.
               Korona.
 19·
 19 · · ·A.·
         A. · Correct.
              Correct.

 20· · · ·Q.·
 20       Q. · Did
               Did anyone
                   anyone report
                          report to
                                 to you during
                                    you during

 21· ·that
 21   that time period?
           time period?

 22·
 22 · · ·A.·
         A. · No.·
              No. II worked
                     worked with Aarne
                            with Aarne

 23·
 23 ·Heikkila, the producer
     Heikkila, the producer who
                            who we
                                we have
                                   have

 24·
 24 ·discussed.·
     discussed. But
                 But I
                     I was
                       was not
                           not a
                               a manager.
                                 manager.                      I
                                                               I

 25·
 25 ·have
     have never
          never been
                been a manager at
                     a manager at NBC
                                  NBC News.
                                      News.


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 ·1·
  1 · · ·Q.·
         Q. · Do
              Do you have a
                 you have a personal
                            personal e-mail
                                     e-mail
 ·2·
  2 ·address that you
     address that     use?
                  you use?

 ·3·
  3 · · ·A.·
         A. · I do.
              I do.

 ·4·
  4 · · ·Q.·
         Q. · Did
              Did you have a
                  you have a personal
                             personal e-mail
                                      e-mail
 ·5·
  5 ·address that you
     address that     used in
                  you used in September
                              September 2020?
                                        2020?
 ·6·
  6 · · ·A.·
         A. · I did.
              I did.

 ·7·
  7 · · ·Q.·
         Q. · Did
              Did you have ever
                  you have ever used
                                used that
                                     that
 ·8·
  8 ·personal e-mail for
     personal e-mail for work-related purposes?
                         work-related purposes?

 ·9·
  9 · · ·A.·
         A. · Not -- not
              Not -- not on this story.
                         on this story.

 10· · · ·Q.·
 10       Q. · Did
               Did you check --
                   you check

 11·
 11 · · ·A.·
         A. · I did.
              I did.

 12· · · ·Q.·
 12       Q. · --
               -- your personal e-mail
                  your personal e-mail --
                                       --
 13·
 13 · · ·A.·
         A. · Sorry
              Sorry to interrupt you.·
                    to interrupt you. Go
                                       Go

 14·
 14 ·ahead.
     ahead.

 15· · · ·Q.·
 15       Q. · Did
               Did you check your
                   you check      personal
                             your personal

 16· ·e-mail
 16          account for
      e-mail account for records
                         records when
                                 when you
                                      you were
                                          were

 17· ·asked
 17         to search?
      asked to search?
 18·
 18 · · ·A.·
         A. · I did.
              I did.

 19· · · ·Q.·
 19       Q. · Did
               Did you find any?
                   you find any?
 20·
 20 · · ·A.·
         A. · No.
              No.

 21· · · ·Q.·
 21       Q. · When
               When was the last
                    was the last time
                                 time you
                                      you

 22· ·talked
 22          to Julia
      talked to       Ainsley?
                Julia Ainsley?

 23·
 23 · · ·A.·
         A. · I
              I sent
                sent her
                     her a
                         a note
                           note saying
                                saying that
                                       that I
                                            I

 24·
 24 ·thought
     thought she did a
             she did a great
                       great job
                             job down
                                 down at the
                                      at the

 25·
 25 ·border
     border over the course
            over the course of
                            of the last week.
                               the last week.


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 ·1·
  1 ·Actually,
     Actually, I think we
               I think    talked earlier
                       we talked         this
                                 earlier this

 ·2·
  2 ·week
     week about
          about a
                a story
                  story about
                        about Biden
                              Biden

 ·3·
  3 ·administration immigration policy
     administration immigration policy about
                                       about a
                                             a

 ·4·
  4 ·particular
     particular source, if I
                source, if I was
                             was willing to --
                                 willing to --
 ·5·
  5 · · · · · ·MS. MCNAMARA:· Let
               MS. MCNAMARA:  Let me
                                  me caution
                                     caution

 ·6·
  6 · · ·you.·
         you. I  don't want
               I don't want you to give
                            you to give

 ·7·
  7 · · ·news-gathering information --
         news-gathering information --
 ·8·
  8 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Thank
                             Thank you.
                                   you.

 ·9·
  9 · · · · · ·MS. MCNAMARA:· --
               MS. MCNAMARA:  -- on
                                 on an
                                    an

 10·
 10 · · ·unpublished information --
         unpublished information

 11·
 11 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Got  it.
                             Got it.

 12·
 12 · · · · · ·MS. MCNAMARA:· -- that
               MS. MCNAMARA:     that you
                                      you have
                                          have

 13·
 13 · · ·not
         not reported,
             reported, so --
                       so --

 14·
 14 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Got  it.
                             Got it.

 15·
 15 · · · · · ·MS. MCNAMARA:· -- I
               MS. MCNAMARA:     I think the
                                   think the

 16·
 16 · · ·question
         question was
                  was when
                      when did
                           did you
                               you speak
                                   speak with
                                         with

 17·
 17 · · ·her.·
         her. You
               You don't
                   don't have to say.
                         have to say.

 18·
 18 · · · · · ·THE
               THE WITNESS:·
                   WITNESS: Thank
                             Thank you.·
                                   you. Thank
                                         Thank

 19·
 19 · · ·you.
         you.

 20·
 20 · · ·A.·
         A. · Julia
              Julia and
                    and I talked last
                        I talked last week
                                      week and
                                           and

 21·
 21 ·this
     this week.
          week.

 22·
 22 ·BY MS. EVANS:
     BY MS. EVANS:
 23·
 23     · · ·Q.·
             Q. · Did
                  Did you talk to
                      you talk to her
                                  her about
                                      about ICDC
                                            ICDC
 24·
 24     ·in any way?
         in any way?

 25·
 25 · · ·A.·
         A. · No.
              No.


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 ·1·
  1  · · · CERTIFICATE
           CERTIFICATE OF
                       OF SHORTHAND
                          SHORTHAND REPORTER
                                    REPORTER

 ·2·
  2  · · · · · · · ·NOTARY
                    NOTARY PUBLIC
                           PUBLIC

 ·3·
  3  · · · · · ·I, Monique Cabrera,
                I, Monique Cabrera, the
                                    the officer
                                        officer

 ·4·
  4  · · ·before
          before whom the foregoing
                 whom the foregoing deposition
                                    deposition

 ·5·
  5  · · ·was taken, do
          was taken, do hereby
                        hereby certify that the
                               certify that the

 ·6·
  6  · · ·foregoing transcript is
          foregoing transcript is a
                                  a true
                                    true and
                                         and

 ·7·
  7  · · ·correct
          correct record
                  record of
                         of the testimony given;
                            the testimony given;

 ·8·
  8  · · ·that
          that said testimony was
               said testimony was taken
                                  taken by me
                                        by me

 ·9·
  9  · · ·stenographically
          stenographically and thereafter
                           and thereafter

 10·
 10  · · ·reduced to typewriting
          reduced to typewriting under my
                                 under my

 11·
 11  · · ·direction;
          direction; and that I
                     and that I am
                                am neither
                                   neither

 12·
 12  · · ·counsel for, related
          counsel for,         to, nor
                       related to,     employed
                                   nor employed

 13·
 13  · · ·by
          by any of the
             any of the parties to this
                        parties to this case
                                        case and
                                             and

 14·
 14  · · ·have
          have no interest, financial
               no interest, financial or
                                      or

 15·
 15  · · ·otherwise, in its
          otherwise, in its outcome.
                            outcome.

 16·
 16  · · · · · ·IN WITNESS WHEREOF,
                IN WITNESS WHEREOF, I
                                    I have
                                      have

 17·
 17  · · ·hereunto
          hereunto set
                   set my
                       my hand this 18th
                          hand this 18th day
                                         day of
                                             of

 18·
 18  · · ·May,
          May, 2023.
               2023.

 19
 19

 20
 20

 21·
 21  ·______________________________

 22·
 22  ·MONIQUE
      MONIQUE CABRERA
               CABRERA
 · · ·Notary
      Notary Public  in and
              Public in  and for the State
                             for the State of
                                           of New
                                              New
 23·
 23  ·York
      York
 · · ·County
      County of
              of Suffolk
                 Suffolk
 24·
 24  ·My
      My Commission
         Commission No.·
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